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                       GENERAL

  LAWS OF PENNSYLVANIA,
          FROM   THE YEAR             1700,      TO    APRIL   22,   1846,



              CHRONOLOGICALLY                         ARRANGED:

                                        WITH




                   NOTES AND REFERENCES


                           TO ALL TIE DECISIONS


                                       OF TIlE




      SUPRE ME       COURT               OF PENNSYLVANIA

                    GIVING CONSTRUCTION TO SAID LAWS:



                 AND       A     COPIOUS               INDEX.




                                     COMPILED BY

                      JAMES               DUNLOP,
                                OF   PITTSBUROII.




                           PI        LADE LPI          A:

         T. & J. W. JOHNSON, LAW BOOKSELLERS,
                     No.    197 CHESNUT STREET.
                                        1847.
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            1S 2.     son or persons so offending, shall for each and every such offence, forfeit and
               --     pay the sum of five dollars, which may be sued for and recovered in the same
                      manner as debts of a like amount are by law recoverable, for the use of the
                      poor of the city, district or township, in which the fine shall have been in-
                      curred : Provided, That the provisions of the third and fourth sections of
                      this act shall not be so construed as to extend to such dry measures as shall
                      be used by the proprietor thereof, only upon his or her farm or plantation.
                         Passed 2d April, 1822.-7 Sin. L. p. 571.

                                                  CHAPTER CCLXXIV.
                        AN ACT FOR THE REGULATION OF THE MILITIA OF Tills COMMONWEALTH.

                         1. The commonwealth of Pennsylvania shall be divided and organized
          19d.        into military divisions, as follows, to wit:
          along..    First Division-city and county of Philadelphia.
                      Second Division-counties of Bucks and Montgomery.
                      Third Division-counties of Chester and Delaware.
                      Fourth Division-county of Lancaster.
                      Fiflh Division-counties of York and Adams.
                      iSixth Division-counties of I)auphin, Lebanon, Berks and Schuylkill.
                      St-venth Division-counties of Northampton, Pike, and Lehigh.
                      Eighth Division-countiesof Northumberland, Union, Columbia, Luzerne,
                                      Susquehanna and Wayne.
                     Ninth Division-counties of Lycoming, Potter, M'Kean, Bradford and
                                      Tioga.
                      Tenth Division-counties of Mifflin, Centre, Iuntingdon and Clearfield.
                     Eleventl Division-counties of Cumberland, Perry and Franklin.
                      Tielfth Division-counties of Bedford, Somerset and Cambria.
                      Thirtcenth Division-counties of Westmoreland and Fayette.
                     F;ourfecnth Division-counties of Washington and Greene.
                     Fifteenth Division-counties of Allegheny, Armstrong, Indiana, and Jef-
                                      ferson.
                     Sixteenth Division-counties of Beaver, Butler, Mercer, Crawford, Erie,
                                      Venango and Warren.
         ortwo bri.     11. Each division shall consist of two brigades, as at present organized;
         gandi e. but when, in the opinion of the major general and the brigadier generals, of
         organized. any division it may be deemed useful and necessary
                                                                           to form a third brigade,
                     within the bounds of such division, they aro hereby authorized to do so,
                     making the said brigades as nearly equal in strength as circumstances will
                     permit.
         Each bri-      111. Each brigade shall consist of the number of regiments now belong-
         gadeofthe ing to the same; but when, in the oninion of the brigadier general and the
         regiments colonels of the regiments of any brigade, it may be deemed useful and ne-
         now be- cessary to form an additional regiment or regiments within tile bounds of
         longing,    such brigade, they are hereby authorized to do so: Provided however, That
                     no brigade shall contain less than two thousand one hundred men, nor con-
                     sist of' less than three nor more than five regiments, and they shall be as
         Each regi- equal in point of strength as circumstances will permit. And each regiment
         ment oftwo shall consist of two battalions, also as nearly equally divided in strength as
         battalions, conveniently may be; and each battalion shall have the same number of
         Old regi.
         mente to     companies if practicable.    The regiments of militia in this commonwealth
         retain their shall retain their present numbers, and every new regiment formed shall be
         numbers. numbered by the adjutant general. And the said regiments and battalions
                      shall take rank according to the number of the same, reckoning the lowest
         Adjutant     in number to be the highest in rank. But the adjutant general shall be
         general to   authorized once in every seven years, to make any other general arrange-
          nake or.
         range-       ment in the number of the regiments; and if any such arrangement is made
         meats,       by him, he is hereby required to give notice of the same to the several bri.
                         (1) Company officers may be now appointed by the 30 March, 1824, 4 1.
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      gade inspectors, and the regiments shall thenceforth have and bear the num.       1822.
      bers made according to said arrangement, and a record of the same shall -            -
      be filed by the .:',tant general in his office, and also in the office of tile
      secretary of the commonwealth. Each regiment of militia shall contain at
      least seven hundred men, and be entitled to a stand of colours at tile ex-
      pense of the state.
         IV. Each regiment shall consist of the number of companies now attached Each regi.
      to the same; but when, in the opinion of a majority of tie field officers of moet to
                                                                                     consist of
      any regiment, it may be deemed tuseful and necessary to create an additional the  number
      company or companies within the bounds of such regiment, they are hereby of'corn.
      authorized to do so : Provide'd however, That the number of companies iII plumies now
      each regiment shall not be less than eight, nor more than twelve, nor the attaed.
      number of non-commissioned officers and privates in each company less than
      seventy, nor more than one hundred and fifty.
         V. Whenever the major general and brigadier generals of any division Maj,or go.
      may be of opinion that a better organization of the brigades and regiments neral, &c.
      of said division may be made, by attaching
                                          •   a one part of a brigade  to another, rmako
                                                                 t .oth!er              a.-
      they are hereby authorized to make such arrangement; of which they shall range.
      notify tile brigade inspectors, w%,ho shall give notice to the commanding offi- m-t, &e.
      cers of the regiments affiecled thereby.
         VI. Whenever the brigadier general may he of opinion that a better or-New
      ganization of the regiments or companies his hrigade may be made, by ralmge-
      attaching one part of a regiment to another, he is hereby authorized tomnts.
      make such arrangement, with time assent of the commanding officer of said
      regiments; of which notice shall he given to the brigade inspector and to
      the captains of the companies to be affected thereby.
         VII. Whenever a majority of the field officers of any regiment may be Field ofli.
      of opinion that a better organization of the compalies of said regiment may cers mnay
      be made, by transferring part of one corpjany to another, they are hereby r.organmzo
      authorized to make such arrangemelit ; of which tile majors of the batta-commtamics'
      lions to which any such company may belong, shall give notice to time
      captain or commanding officer thereof; and shall also give notice thereof
      to the proper brigade inspector, stating particularly the alterations so made.
         VIII. Every free able bodied white male person who has resided within %Wrhoto ba
      this commonwealth for one month, and is between the ages of eighteen enrolled.
      and forty-five, except those hereinafter enumerated, shall be enrolled in the
      militia of this commonwealth, the vice president of the United States, the Irho to t,e
      judicial and executive officers of the United States, members of congress, exempted.
      custon house officers, stage drivers enmployed conveying tile mail of the
      United States, ferrymnen employed o any post road while in the aetial
      performance of that duty, post masters, inspectors of exports, pilots and
      mariners actually employed in the sea service, and ministers of religion,
      teachers in universities, academies andi schools while so employed, and who
      have been so eml)loyed for at least one year before, members of the board
      of health, directors and controllers of the public schools of tile first school
      district in this commonwealth, judges of the supreme an] district courts,
      and courts of common pleas, the mayors and recorders of cities, and the
      menial servants of foreign ambassadors, ministers and consuls, sheriffs,
      jailers and keepers of workhotses shall be exempted from militia duty.
      And every person within the ages before mentioned shall be considered an
      able bodied man, unless he shall produce to the commanding officer of the
      proper regiment, a certificate from two practising surgeons or physicians
      residing within tie bounds of the regiment, under oath or affirniation, that,
      in their opinion lie is unable and uinfit to perform military duty by reason
      of infirmity or disability, or shall produce such a certificate from the sur-
      geon of the regiment, who shall take one general oath or affirmation to per-
      form his duty with fidelity; and unless the commanding officer of the said
      regiment is further satisfied that any such person is not an able bodied man
      within the spirit and meaning of this act.                                ...   Captain to
         IX. The captain or commanding officer of every company of militia, enrol.
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          182 . shall between tile first day of April and tle first Monday of May, in the
                       year eighteen hundred and twenty-two, and in every subsequent year enrol
                       or cause to be enrolled every person subject to militia duty within the
                       bounds of his company, by having entered the name, age, and place of resi-
                       dence of every such person in a book to be procured for that purpose, and
      How ago if any doubt shall exist about his age or place of residence, the age shall be
               to Dbe entered at twenty one years, and the place of residence shall be considered
      and
      delnce resi-,
      detcrmin. as being in the district, township or ward, and within the bounds of the
      ed.             company in which he is believed to reside, which shall be conclusive until
                      he satisfies the captain or commanding officer of his proper age and place
                      of residence; and if it is found that he ought to be enrolled in any other
                      company, he shall only be released from performing duty in the company
                      in which he is first enrolled, by producing a certificate that he is actually
                      enrolled in such other company. And the captajo or commanding officer
     Persons or. shall enroi, or cause to bc enrolled, from time to time, every person arri%ing
     rivingwith-
     in   tile         within the bounds of his company, or arriving to the age of eighteen years,
     bouds of and liable to perform militia duty, and shall enter his name, age and place
     any com. of residence in manner aforesaid: Provided hwwrvr, That no actual mem-
     P tny to be ber of a duly organized volunteer corps shall be enrolled in manner afore-
      enrolled. said, if at the time thereof he is uniformed and equipped as a volunteer,
                       which fact he must show if required, by a certificate from tile commanding
                      officer of his troop or company.
     Penalty, a X. If any person liable to perform militia duty, shall make a false repre-
     flsenrpo. setation of his name, age, or place of residence to the person authorized
     or conceal- to enrol him, or shall wilfully conceal or refuse to give the same, or if any
     meet of*         head of a family shall conceal the name of any person subject to militia
     nanes,           duty, residing, boarding or lodging in the family, or occupying any part of
                      the dwelling house, or make a fidse representation thereof, every person
                      so offending shall forfeit and pay the sum of ten dollars, to be recovered
                      before any alderman or justice of the peace, as debts of equal amount are
                      by law recoverable by any person who shall sue for the same.
     Enrollnent          XI. The captain or commanding officer of every militia company, shall
     ol'cmnlia. on or before tile day of regimental or battalion training in each and every
     mntes   to be
     delivery         year, deliver, or cause to he delivered to the proper brigade inspector, a copy
     annually to of the roll of the militia of his company under oath or affirmation ; and
     the brigade the adjutant of the said regiment shall, on or before the said regimental or
     inspector, battalion training in every year, deliver or cause to be delivered to the
                 proper brigade inspector, a roll of all the field, staff and company officers in
     orthe ield, his regiment; and each of the said officers failing to fitrnish the said rolls,
     stafn'aud   and deliver the same as directed by this section, shall forfeit and pay the
     ocers, sum of thirty dollars.
     Prcaent ad-     XII. The adjutant general of the militia of this commonwealth now in
     jutant ge. commission, shall hold his office for the term of three years from the third
      onralto in day of August last, if he so long behaves himself well, and faithfully per-
     office for 3 forms the duties of his office ; but, whenever in the opinion of the governor
     years, &c. tile said adjutant general fails and neglects faithfully to perform the duties
     May be     of his office, the governor shall remove him from office; and as often as a
     removed. vacancy happens by such a removal, or by death, resignation, expiration of
     Vacancy. the term of office or otherwise, the governor shall appoint and commission
     Salary.   another person in m.onner aforesaid ; and the said adjutant general shall re-
               ceive for his services the annual salary of three hundred dollars, to be paid
     Dutics.   out of the state treasury; and the said adjutant general shall receive and
               distribute all orders from the governor or commander-in-chief of the militia
               to the several officers of the said militia; whenever required, lie shall furnish
               to the brigade inspectors one complete set of all forms and returns connected
               with a proper discharge of their duties, and of the duties of the several offi.
               cers of the brigade to whom they shall be distributed by the said brigade
               inspector : for which forms and returns be shall be paid out of the state
               treasury upon the settlement of his accounts by the proper officers; and
               shall also be paid for all postage on letters or packages from or to him on
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       subjects connected with military duty ; lie shall give explanations and in- 1822
       formation on all matters connected with military duty to the major generals,
       brigadier generals anti brigade inspectors, whenever required by them ; he
       shall receive and file all returns made to him of th militia agreeably to law,
       and shall annually make a detailed report thereof to the governor, to be sub-
       mitted to the legislature; and shall also transmit a duplicate thereof to the
       president of the United States, and shall instrutt the proper officers in the
       form in which these returns shall be made to him ; and shall also in the
       report to the governor particularly designate tle number of militia in eacti
        brigade and regiment, and the number and kitd of volunteer corps attached
       to the same respectively; he shall also procuie or cause to be procured, any
        arms, military stores, clothing, accoutrements and camp equipage, and shall
       distribute the same to the proper officers when legally required. The adju- To givc
        tant general shall, before lie enters on his duties, give bond with one or more bond.
       sufficient sureties to be approved of by the governor, which bond shall be
       taken in the name and for the use of the conmonwealth of Pennsylvania,
       (andl filed in the office of the secretary of state,) in the sum of one thousand
       dollars, conditioned for the true and fiaithful performance of his duties, and
       the safe delivery to his successor of all books and papers belonging to his
       office ; and incase of the death of the adjutant general, his executors or ad-
        ministrators shall, under the penalty of one thousand dollars, safely deliver
       all books and papers belongi,,g to the office of the said adjutant general, to
       any person appointed by the governor to receive the same ; which penalty
       shall be recovered in the name and for the u-c of the commonwealth of
       Pennsylvania.
           XII. The divisions, brigades, regiments and companies of militia shall o dtc
       be officered as follows:                                                         militia to
           Toeach division one major general and two ahls-de-canip, to be appointed be ollicer.
       by him with the rank of major; and one division inspector and one divi- c.
       sion quarter master, to be appointed by a majority of the general officers of
       the said division.
           To each brigade, one brigadier general, one hid-de-camp, one brigade
       major, and one brigade quarter master, to be appointed by him with the rank
       of captains, and one brigade inspector.
           To each regiment one coloinel, one lieutenant colonel and two majors;.
       one surgeon and two surgeon's mates; one adjutant and one quarter master,
         vitli the rank of first lieutenants; one sergeant major, one quarter master
       sergeant, one drum major, and one fife major. The said commissioned and
       non-commissioned staff officers to be appointed by the commanding officer
       of the regiment.
           To each company one captain, one first lieutenant, one second lieutenant,
       five sergeants, six corporals, two musicians, and the number of privates di-
       rected by the fourth section of this act.
           XIV. On the first Monday of June, one thousand eight hundred and rig1;r
       twenty-eight, and ol the first londay of June in every seventh year there- general and
       after, an election shall be held within the several battalion bounds of the cers  fh too be
                                                                                                b.
       militia of this coinmonwealth, in tle manner and for the several officers elected.
       hereinafter mentioned. The brigade inspector of each brigade then in
       commission, shall advertise and give notice in the most public manner, by
       printed or written advertisements, and by publication in two newspapers in
       the city or county, if such papers are published therein, to all persons still-
       ject to militia duty within the bounds of every such battalion of the brigade,
       that an election will be held on the said day, between the hours of ten ill
       the forenoon and six in the afternoon, except within the city and liberties
       of Philadelphia, where the election shall be kept open until nine o'clock, at
       such place within the bounds of the said battalion as near the centre as may
       be, as shall be designated in such notice, for the election of one brigadier
       general for the brigade, of one colonel and lieutenant colonel for each regi-
       ment of said brigade, and one major for each battalion of said regiments.
       And the said brigade inspectors shall order and direct the major of every Elections.
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          1822.    battalion, or if ie neglects or refuses, or in case there is no such officer, he
                   shall appoint one respectable citizen residing within the limits of the said
                   battalion to superintend and conduct the said election ; and the said major
                   or citizen appointed as aforesaid, shall attend at the time and place fixed
                   on for the election, and shall prior to the opening thereof select another
                   respectable citizen, who with himself shall act as judges of said election;
                   and they shall take to their assistance two clerks; and the persons so ap-
                   pointed to act as judges and clerks shall be sworn or affirmed by any alder-
                   man or justice of the peace, or if there is no alderman or justice of the peace
                   present, then by any commissioned officer, to conduct tile said election
                   faiily and impartially, and make a correct and true return thereof. And
       Who to      every militia man belonging to the said battalion, or any member of a volun-
        vote.      teer corps residing within the bounds of the same, may vote by ballot at
                   such election in the manner now practised at tihe general elections: Pro-
                   vided howtver, That no volunteer of any troop or company which actually
                   belonims to a battalion or regiment of volunteers, shall vote for field or coin.
                   pany officers of a militia regiment, but may vote for brigade inspector or
                   brigadier general of the brigade. Aid if the said judges shall deenm it
                   necessary, they may administer oaths or affirnmations to voters and others,
                   and examine them about their right to vote, and shall decide thereon ; and
       Returns.    when the said election sh4ll have been closed and the voles counted, the
                   said judges shall nake out duplicate returns of the same, to be signed by
                   them as well a3 tie clerks, particularly staling in the said returns the num-
                   ber of votes in words at length given for each person for the office before
                   mentioned, of brigadier general, brigade inspector, colonel, lieutenant
                   colonel and major separately and distinctly ; and the superintendent of such
                   election, after sealing up tile said returns in the presence of the other judg',,
                   shall take charge of tie same, and shall within ten (Jays after tile said elec-
                   tion, deliver, or cause to be delivered, the said returns to the proper brigade
                   inspector then in commission. And the said superintendent shall receive
                   two dollars, and the said judge and clerks one dollar each for their services
       Penalty     for performing the duties required of them. And if any such superintend-
       Uhtse re.   Cet, judge or clerk shall act fraudulently in conducting said election, or
       ftiles      shall wilfully make a false return thereof, he shall, on conviction thereof
                    before the court of quarter sessions of the county in which he resides, for-
                    feit and pay any sum not less than fifty nor more than one hundred dollars,
                    to be paid to the proper brigade inspector.
        ltow and       XV. 'Tire brigade inspector after having received tie returns of the dec-
       b~ywhom tions hel in nner aforesaid, and bcf),e he opens tle same, shall cal to
       the  returns
       to lie re- his assistance two respectable citizens residing wilthi tile bounds of tile
       ceived, &e.brigade, one of whom shall be an alderman or justivke of the peace, and after
                    swearing or affiring the said citizens truly to examine and cast up said
                    returns, and make a fair and correct report thereof, the same oath or affir-
                    mation shall be admimistered by the said alderman or justice of the peace
                    to tie brigade inspector, and they shall then open the returns of the said
                    elections and cast up the same, and shall make out one general return of
                    the election of brigadier general, one other return of the election of brigade
                    inspector, one other return of the election of each colonel and lieutenat
                    colonel, and one other return of the election of each major; and having
                    certified and signed the same, the said brigade inspector shall forthwith
       Persons      transmit time same to the secretary of the commonwealth. And time said
       elected to brigade inspector shall immediately cause a written certificate and notice
       be notified, to be given to each of the said persons of his election. And the returns of
                    the battalion elections received by the brigade inspector shall be filed and
                    preserved in his office, and shall be subject to the inspection of any person
                    interested who may %vish to examine the same ; and if the said brigade
                    inspector, and either of the citizens aforesaid called by him to his assist-
       Penalty      ance, shall be guilty of fraud in casting up the returns, of the battalion elec-
       false re. tions aforesaid, or shall wilfully sign a filse return thereof, or if the said
       turns.       brigade inspector shall wilfully suppress any of the said returns, upon con-
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       viction thereof before the court of quarter sessions of the county in which 1822.
       they severally reside, they shall forfeit and pay any sum not less than oue
       hundred nor more than five hundred dollars for the use of the brigade; and
       the said brigade inspector shall further be deprived of his office: Provided,
       That each of the persons called to the assistance of the brigade inspector shall
       receive one dollar for his services, to be paid by the said )rigade inspector.
           XVI. The proper brigade inspector shall notify the brigadier general, ninr go.
       and the field officers of the several regiments and battalions of militia and andnorl,by how
       volunteers of the brigade, elected according to this act, to meet on the first ,bo. to be
       Monday of July then next ensuing, ad on the first Monday iii July ill every elected.
       seventh year thereafter, at a place as near tile centre of the brigade as pos.
       sible to be fixed by him, to elect a major general for the division. And the
       said brigade inspector shall attend at the time and place so fixed on, Lid
       together with the brigadier general or other senior officer present, shall
       superintend and conduct the said election. And the said officers of tile
       brigade being assembled, shall ballot for a major general, and after count-
       ing the votes, duplicate returns of the said election shall be made out and
       signed by the said brigade inspector aid brigadier general or other senior
       oflicer, stating particularly the number of votes given for each perso for
       major general in words at length. Alid the said brigade inspector shall
       file one of the said returns in his office, and the brigade inspectors of tile Returns.
       other brigade or brigades of the division shall, within ten days after the
       election, call upon the brigade inspector of the first brigade of (ie said
       division, and they shall examine and cast up their respective returns, ard
       make out a division return, stating the election of the person having the
       highest number of votes for the office of major general, which being certi-
       fied and signed by the said brigade inspectors, shall immediately be trans-
       initted to the secretary of the commonwealth ; and one of the said brigade
       inspectors shall also notify in writing the person so elected; but if no one
       should have a majority of the votes given, or if any person elected a major
       general as rforesaid shall refuse to accept, or whenever a vacaucy shall Vacancies.
       happen by death, resignation or otherwise, of which immediate notice shall
        be given to the adjutant general of the commonwealth, by tie proper bri-
       gade inspectors, the said adjutant general shall direct tile brigade inspectors
       of the division to hold a new election on i day to be named by him, which
        election shall be held and conducted, and returns thereof made iii all re-
       spects as is directed by tile preceding part of this section.      And when, in
       consequence of no one having a majority of votes, a second election shall
       have been held for major general illiiainnll:' aforesaid, and it should again
       happen that no one has a majority of the votes given, then the governor shrall
       appoint and commission one of those highest iu vote.
          XVII. Before any commission shall issue to a brigade inspector, lie shall uirigado in.
       give bond with sufficient sureties, to be approved of by  . two of tile judges specters
                                                                                         give bond,to
       of the court of common pleas of the county in which lie resides, in the ieb
       sum of five thousand dollars, taken in the name of the commonwealth of
       Pennsylvania, conditioned for the fiithful performance of his duties as
       brigade inspector, which bond shrall be filed iii the office for recording of
       deeds of the county, and a copy thereof sent to tie secretary of the corir-
       monwealth. And whenever a vacancy shall happen, by death, resignation
       or removal of airy brigade inspector, tile brigadier general or senior officer
       of the brigade, shall cause an election to be held to supply such vacancy, Vacancies.
       on a convenient day. to be named by him, which election shall be held aid
       conducted in all respects similar to tile mode prescribed by the fourteenth
       and fifteenth sections of this act, the said brigadier general or sorlior officer
       acting in lieu of the brigade inspector, and who shall be paid tile necessary
       expenses for advertising said election, aid two dollars for attending the same.
          XVIII. If any brigadier general, colonel, lieutenait colonel, or major, Vacanicios
       elected, shall refuse to accept; or wheiever, and as often as a vacancy shall in tile tR.
       occur by the resignation, removal, death or otherwise, of riny such officer, gadierso.
       anew election shall be immediately ordered by the proper brigade inspector, neral and
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          1822.      at a time to be fixed an by him, which shall be held, conducted, and re-
       field offi. turns thereof made in all respects, and under the like penalties as is pro-
       cer.        vided and directed by the fourteenth and fifteenth sections of this act,
        Ireturns. except that in the elections of majors, it shall not be necessary to advertise
                   in two city or county newspapers: nor shall it be necessary for the brigade
                   inspector to call to his aid two citizens to examine the returns of the elec-
                   tions of majors, nor to be sworn or affirmed ; but he shall transmit a copy
                   of the return of any election of major, received Iy him, to the secretary of
                   the commonwealth.
       When ind        XIX. On the third Monday of August, on ,ousand eight hundred and
       wherecorm- twenty-eight, antd on the same day in every seventh year thereafter, an dec-
       pany Ofli.
       cers to be tion shall be held within the bounds of every company of 'militia in this
       elected.      ommonwealth, for company officers for tile same; and the major of every
                    ,attalion, or in case there is no major, the lieutenant colonel of the regi-
                   ment shall give at least ten days' public notice, by written or printed
                   advertisements, and by publication in one or more newspapers, if lie thinks
                   it necessary, to the persons subject to militia duhty within the bounds of
                   every company of the battalion, that an electioii will be hld on said day be-
                   tween the hours of ten o'clock in the forenoon and six in the afternoon, at
                   such place within the bounds of every said company, as near the centre as
                   may be, as shall be designated in such notice, for the election of one cap-
                   tain, one first lieutenant, and one second lieutenant. And the said major,
       Iuow olee. or lieutenant colonel, shall appoint one respectable citizen to superintend
       tions to he and conduct each of said elections, who shall attend at the time and place
       conducted. fixed on for the same; and shall prior to the opening thereof, select one
                  other person, who, with himself, shall act as judges; and they shall appoint
                  one other person to act as clerk thereof; but if any person appointed by*
                  thLe major, or lieutenant colonel as aforesaid, shall fail to attend, then, anti
                  in that case, the enrolled militia present at such election, may and shall
                  appoint two citizens as judges, and one citizen as clerk, and the said
                  judges and clerk shall be sworn or affirmed by any alderman or justice of
                  the peace, or by any commissioned officer, to conduct l.he said election
                  ftirly and impartially, and to make correct and true returns thereof; and
      Captain to the captain or commanding officer of every company of militia within tie
      lris1h a bounds of which any such election is held, is hereby required, under the
      list otythe
      enrolled
      militia,    penalty  of fifty dollars,
                  of the election,  a correctto list
                                                 furnish themilitia
                                                     of the  said judges   on or
                                                                    belonging to before the openAg
                                                                                 his company.  And
       Who may every militia man (,olunteers excepted), within the bounds of every said
       vote.         company, shall and may vote at such elections in the manner practised at
                     the general elections. And the said judges may, if necessary, examine
                     persons offering to vote upon their right to do so, under oath or affirmation,
                     and shall decide thereon. And when the said elections shall have closed,
       Returns. duplicate returns thereof shall be made out, and signed by tho said judges
                      and clerks respectively, stating the number of votes given for each person
                      for time offices aforesaid, separately and distinctly; and also stating in the
                      said returns the number of militia within the bounds of the company ; and
                     one of tile said judges shall take charge of the said returns, and within
                     five days thereafter deliver, or cause the same to be delivered to the afore-
                     said major or lieutenant colonel, who shall immediately transmit one of
                     each of said returns to the brigade inspector, who shall file the same in his
                     office; and the said brigade inspector shall make out one general return
                     for each regiment, of the officers elected in tle several companies thereof,
                     in every case where it appears at least one third of the militiat of the com-
                     pany voted for officers; which returns lie shall certify and sign, and send
      If onethirdimmediately to the secretary of the commonwealth. But when, by any
      ofthe
      rolled en.
               mili- such returns, it appears that one third of the militia of any company did
       tift do not not vote for company officers, the brigade inspector shall notify the colonel
      vote, the or commanding officer of the regiment thereof, who shall appoint tile pro-
       command- per officers for every said company ; but he may if lie thinks proper, appoint
      iflg oficer all or any of the persons voted for. And lie shall also appoint the proper
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        officers for every company where no election shall be held; and in case 1822.
        any person shall be elected who, shall refuse or decline to accept, or shall -             .
        fitil to perform tile duties of his office, the commanding officer of the regi- point.
        ment is hereby authorized and directed to appoint proper officers in tile Where no
         place of every such person thus declining to accept, or failing to perform election to
         his duty. But the said commanding officer may, if lie thinks proper, int held.
        any of the cases above mentioned, order new elections to be held; and he
         shall make out duplicate returns of all appointments made by him, and And may
        shall deliver or cause the same to be delivered to the brigade inspectr-r order new
        without delay; one of which returns he shall file in his office,        and tolecl"
                                                                            as ofi't, as a
         other transmit to the secretary of the commonwealth. And
        vacancy occurs of a commissioned officer in any company, such vnWazacy V,tancies.
        shall be filled by a new election or appointment in manner aforesaid, only
         that the superintendent appoiiited for each election, shall hold and conduct
         the sarie himself, without selecting another person to act %vithhim as a
        judge thereof; and shall have the like powers, and do and perfiorml every
         act and thing required to be done by the two judges in the preceding part
         of this section. Prolildcd ihowci'rr, That the company officers shall reside Proviso ag
         Within the bounds of their company, unless proper persoms cannot, in file toe"the     co
                                                                                                   resi-
         opinion of the comnmander of' the rerimle il, e fimund herein, to accept ofdh ml ol s
         such appoimtilmeuts, ill which case they may be takei from the bounds oft l icer .
         other compaiiies. And the judges and clerks of the aforesaid electionscompenBa.
         shall be entitled to one dollar each for their services, and be subject to tio, to
                                                                                           clerks "and
         the like penalties as are directed anid prescribed by the foorteeithi section judges
         of this act. Anl the said brigade inspector shall also be subject to the
         same penalties for misconduct, as are prescribed by tile fifteenth, section or
         this act.
             The field officers or a majority of them, the commandant being one, lhow coxn.
         shall and may number the companies, and arraige them to the battalions panics are
         of the regiment, giving notice thereof to the proper brigade inspector, t heomo.
         And all field and company officers of militia shall take rank according to
         the immber of their respective regiments, battalions, or companies, reck-
         oniig the lowest in ntunber to be highest ill ranmk, when their commissions
         are of the same date. Anid time commnnding officer of ever), company, Iow to
         is authorized to appoint the proper non-commissioned officers for the same. rank.
        0 XX. Wihenm elections, leld under this et, are coitested, the followingContested
         proceedings shall be had : when at least four of the officers, who voted at elections.
         any election for major general, shall complain to the adjutant general ofOrMajor   e
         the commonwealth, that illegal votes were taken, or that tile same was g wnral.
         otherwise unlawfully held and conducted, it shall be tile duty of the said
         adjutant general, to select at least three officers, who doenot belong to the
         division iii which till election was held, one of whom shall not be under
         the rank of a general officer, and the others not under the rank of colonel.
         If the election of a brigadier general, or brigade inspector shall be conl- rigadier
         tested, by at least one hundred of the volunteers or militia who voted at general briga(, or
         any such election, application may be made by th em,   .. to
                                                                    . tle major
                                                                             . 10general
                                                                                    nl
                                                                                     s           1i
                                                                                         ,.j eerec~r.
         or tile next senior olicer in rank in tile division, if there is no major n
         general, who shall direct and notify two other officers of said division, not
         beloiigiiig to the brigade in which the election was lcid, who shall not be
         under the rank of lieutenant colonel. If the election of any field officereield ofl.
         shall be contested, by at least fifty of those who voted at such election,cers.
         application may be made by them to tile brigadier general, or if there
         should be no brigadier general, then the next senior officer in rank, iniithe
         brigade, not belonging to the regiment in which time election was held, who
         shall direct and notify two other officers not under rank of the field officers,
         and riot belonging to the said regiment, which officers shall compose
         boards for'the trial of the contested elections in the cases before mentioned,
         for which they were selected and appointed ; and may belong to the volun-
         teers or militia, or either thereof, at the discretion of the authority making
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      1822.    the selection.   And if the election of an officer of any company of militia,
     Company     or of independent volunteers, shall be contested by at least twenty of thos
     officers,   who voted at any such election, application may be made by them, to the
                 colonel or commanding officer of the regiment to which said militia coin-
                 pany belongs, or said volunteer company is attached, who, with two other
                 field officers of said regiment to be notified by him, shall compose a board
                 for the trial of said election. And if the election of an officer of any
                 company of volunteers belonging to a battalion or regiment, shall be con-.
                 tested by at'. least twenty of the volunteers who voted at any such eiection,
                 application may be made by them to the commanding officer of their pro-
                 per battalion, or regiment, who, with the other field officers of the battalion
                 or regiment, if any there are, not, however, exceeding two besides himself,
                 to be notified by him, shall be a board for the trial of such election. And
     Time and the senior officer of any such board, shall fix on a convenient time and
     place lr    place for determining the said contested election, with power to adjourn if
     deterinin.
     ing, &C. necessary ; and shall direct not less than ten days notice to be given to at
                 least one of the complainants, and to the other parties concerned, and may
                 issue process, to compel the attenldance of necessary witnesses, who shall
     Duties of be paid by the party who requires them to be summoned.             And the said
     the board, board shall proceed to hear the allegations and proofs offered; and they, or
                 a majority of them, shall either confirm or set aside any such election, as
                 the justice of the case may require, and shall immediately make report
                 thereof to the proper authority. But the said board, in deciding upon any
                 contested election, shall reject and deduct all illegal votes given to any cani-
                 didate, and if there is not other sufficient cause of complaint, shall confirm
                 the election in favor of the person having the highest number of lawful
                 voles given. But if the election shall be set aside, then any commission
                 which may have issued in consequence of the same, shall be void, and the
                 office declared vacant, and a new election shall be held in the manner pre-
                 scribed in other cases by this act.
     Term
     commis- of      XXI. All officers of volunteers or militia, elected or appointed in pursu-
     sions to be ince of the act for the regulation of the militia, passed the second dly- of
       ntil tile April, one thousand eight hundred and twenty-one, or that may hereafter'
     3d orA,- be elected or appointed, prior to the next septennial elections, shall hold
     gust, 1828. their commissions until the third day of August, one thousand eight hun-
                 dred and twenty-eight; and all officers elected or appointed at the next,
                 and all subsequent septennial elections and appointments, shall hold their
                 commissions until the third of August, in every seventh year thereafter, if
                 they so long behave tlv'mselves well, and perform the duties required by
     Except l'or law; except, however, the staff officers appointed by the major generals
     ctatfoft-   and brigadier generals, and of the regiments and battalions of volunteers
     cers.       and militia, who shall hold their commissions for the periods before men-
                 tioned, unless sooner removed by the general officers, or by the comman~d-
                 ing officers of the said regiments or battalions respectively. But the
                 appointment and commission of every staff officer, of' a major or brigadier
                 general, shall become void, whenever the person making such appointment
                 shall cease to be an officer himself, from any cause whatever. And when-
     When corn. ever the secretary of the commonwealth shall have received the returns of
     missions to any elections or appointments, made in pursun.ne of this act, commissions
     issue.      shall immediately be issued to the said officers respectively, to be sent to
                   the proper brigade inspector, unless lie shall have received notice that the
                   election of any such officer is contested, in which case the commission
                   shall be withheld until the contest is decided, and then shall only issue to
                   the officer lawfully elected. And all commissions for officers elected or
                   appointed at the next, and all subsequent septennial elections or appoint-
     When to mits, shall bear date and take effect from the third of August. And all
     take ell'ect. commissions for officers elected or appointed at any other time, shall bear
               date and take effect from the day of election or appointment of every such
               officer. But every officer elected or appointed in pursuance of this act,
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         shall have all the rights and authorities of an officer, from the time of 1822.
         receiving notice of his election or appointnent, (when his election is not At what
         contested) although not commissioned, except the brigade inspector, who time oirl.
         shall have no authority until regularly commissioned. No officer shall be U-0r1to ex-
         permitted to resign, until he shall have accounted and settled for all money, ,tir
         arms and property of the commonwealh, which may have come into his
         hands. Nor shall any person be a commissioned officer who is not a citi- No person
         zen of the United States. And the commission of every such officer shall to hc coin.
         be null and void, unless he is actually resident within the bounds of his notisioned  a citi.
         proper command. And whenever it happens, from any cause whatever, zen.
         that lie is not so residen!, his office is hereby declared vacant : excepting, Offlcers to
         however, the case of company officers, who miy reside without tihe bounds reside
         of their company, agreeably to the nineteenth section of this act And bouneds      ithinl the
                                                                                                    of'
         provided, That within the first division of militia, the officers may reside in their coin-
         any part of their respective brigades.                                           ,nands.
            XXII. The militia of this commonwealth shall be paratced and trained When and
         in companies and battalions, as filiows, viz : In companies on the first wherecoin-
                                                                                          p
                                                                                            ally a n
         Monday of May in every year : and the battalion parades and training
         shall commence on the second Monday in May, in every year ; and shall trainings.
         continue in such order as the brigade inspector shall direct, on every day
         of the week, except Sunday, until all the battalions of the brigade shall
         have paraded : of which trainings one month's notice shall be given by tile
         brigade inspector, in as public a manner ns possible, by printed advertise-
         ments or otherwise, as lie may decii best. Tie place for the company
         trainings shall be fixed by the commanding officer thereof, aid of which
         lie shall give at least ten days public notice, by printed advertisements or
         otherwise. And the place for battalion trainings, shall be fixed by tire
         commanding officer of the regiment, with tihe approbation of the major of
         tie battalion. Arid time commanding offlicer of the regiment shall give at
         least fifteen days public notice of the place of said battalion trainings, by oldic no.
         printed advertisements or otherwise. Amid the colonel of the regiment ti.ce to be
         shall attend, and command the training of one battalion of the regiment ; given.
         and the lieutenant colonel shall attend and command the training of the who to
         other battalion of the said regiment, to be determined by said colonel : but command
          in case of the absence of those officers, the command shall devolve VC.1   p olings
                                                                                           the train-
                                                                                                  o thle
         the next senior officer. And at every regimental and battalion training, bmattalions.
         the commanding officer shall cause the roll of the field arid staff officers to itol of
          be called, and tie absentees noted, arid a return thereof made to the pro- field and
         per court of appeal for the first battalion: Providrd howeer, That the'.                    he
          militia shall parade and train in regiment inslead of battalion, when tie called, &c.
         commanding officer may require it, of which le shall give notice to the
          brigade inspector, before he is directed to advertise in manner aforesaid.
          And the said commanding officer shall give the same niotice of the place
          of regimental training, that is required in the case of battalion training:
          And provided, That each of the brigade inspectors within the bonds of
          the first division, shall publish the said notice required of hin by this sec-
          tion, three times in two of the daily newspapers printed in the city of Phi-
          ladelphia, and shall describe therein the bounds of his brigade, and of each
          regiment therein, together wilh the names of their respective commanding
          officers: And provided also, That po enrolled militia man, under the age
          of twenty-one years, shall be required lo parade or train, or shall be filled
          for not having so paraded or trained.
             XXIII. Every commissioned and stallf officer, arid every non-commis- Penalty for
          soned officer and private, enrolled in the militia, and between tie ages .not attend.
                                                                                      g ing train.
          of twenty-one and ftrty-five years, who, without a lawful excuse, shall ing.
          neglect or refuse to attend, on any day of parade arid training, herein before
          appointed, (without good and sufficient arms) shall be fined as follows, to
          wit: Every field officer, five dollars; every stall officer, and captain of a
          company, three dollars; every subaltern officer, two dollars; and every
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        1822. non-commissioned officer and private, one dollar; and every such officer,
     Leaving non-commissioned officer and private, shall pay the same fine if lie leaves
     the ranks the ranks and parade on any day of training, without the leave of his corn-
     and parade. manding officer, before the regiment, battalion, or company is dismissed:
                Provided however, That if the officers of the company shall he of opinion
                that any militia man could not procure arms, he shall not be fined for
                appearing without them; and all officers, who shall appear on parade, with.
                out being in uniform, shall be subject to the same fines, as if they had not
                 aftended, and they shall be returned as absentees, in the cases before
                 mentioned.
     Roll to be     XXIV. It shall he the duty of every captain, or commanding offlicer, on
     called,     the days of training aforesaid, to call the roll of his company, or cause the
                 same to be called, and note down those who are absent at any time during
                 th6 hours of parade, as often as he shall think most proper, to ascertain the
     Absentees. absentees. And the said captain or commanding officer, shall make out a
                 return of all such absentees, who are reqvr.ed to parade, under oath or
                 affirmation, with the amount of fine incurled, set opposite each name; and
                 shall deliver the said return to the proper court of appeal, on the day of
                 their meeting, under the penalty of fifty dollars.
     3 officers     XXV.1 The colonel or commanding officer of each regiment, shall, on
     to be aof or beore the day of regimental or battalion training, in every year. appoint
     court
     appeal.     three commissioned officers for each battalion of his regiment, to compose
                 a court of appeal for the said battalion for the current year, and shall fix
                 on the place where the said officers shall assemble; and shall give pnblic
                 notice of such appointment, and of the time and place of meeting, fifteen
     When to days at least before each meeting, by printed advertisements or otherwise.
     nlect.      And the said officers, so appointed as a court of appeal for the battalion,
                 shall meet on the second Monday of June, in said year, and shall, before
     To be on they enter on their duties, be sworn or affirmed, justly and impartially to
     oath.       decide on all cases that may come before them, and shall continue to sit
                 as long as business absolutely requires it. The senior officer shall be pre-
     Vacancies. sident of the said court, and if a vacancy should happen, the colonel or
                 commanding officer shall immediately appoint another officer .o fill such
     Persons vacancy, and give him notice thereof. And all officers and enrolled militia
     fined may men-of the proper battalion, who shall have neglected to attend on any day
     nppeal.     of training, may appear in person or by agent before the said court, to
                assign their excuse for such non-attendance, and the said couit shall and
     When fines may examine all persons under oath or affirmation ; and if it shall be satis-
     ma) be re- factorily proved or shown, that any offic: r or militia man was prevented
     mitted.    from attending, by reason of being a juror, arbitrator or witness, befor,
                any court or other legal tribunal, or of illness, or una~aidable cause which
                rendered his attendance impracticable on any day for which lie is fiied for
                non-attendance, tire said court or a majority thereof, shall remit the fine or
                fines incurred. But no remission shall be made, or redress given at any
                other time or by any other authority, or in any other manner, than is before
     Two lists mentioned. And as soon as the said court of appeals shall. havc. decided
     to bemade. upon all cases before them, they shall make out two lists of the officers and
                enrolled militia of each company, returned 'y the captain or commanding
                officer thereof, as are fined for non-attendance on any day of training, and
                whose fines were not remitted by the said court of appeal; which lists
                shall be signed by the president of the said court, with a certificate attached
                thereto, that the officers of the said court of appeal had been sworn or
                affirmed according to law. They shall also mark on the return of each
                captain, furnished to the said court, opposite to the name of each indi-
                vidual, the remission of any fine ; which return, so marked, shall -also be
                signed by the president of the said court. And the said court of appeal
                shall also make out two lists of all field and staff officers returned to them,
       (1) This is not to affect the right of exoneration by the field officers under the 20 4. See 30 Mich,
     1824,$44.
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       as fined for non-attendance, and whose fines are not remitted by the said 1822.
       court, signed and certified is aforesaid. And tile       president of the said To be do.
       court of appeal, within ten days after file   sitting of the said court, shall, livered to
       under the penalty of fifty dollars, delive!r or cause to be delivered to the brigade in.
       proper brigade inspector, one of each of the lists aforesaid, of the finesFPctor.
       not remitted, and also the company returns, marked as before directed, and
       shall transmit the other lists of the said delinquents, to the auditor-general
       of the commonwealth, who shall charge the amount of the fines not
       remitted by tile  said court, to the proper brigade inspector, and file the
       said lists in his office.
          XXVI. The brigade inspector shall, as soon as conveniently may be iris duties
       after receiving from the presidents of tie several courts of appeal in his eiving  fter re. the
       brigade, tile returns of fines not remitted by th~e said courts, issue warrants ce.         t
       under his hand and seal, for all the fines not remitted, to wit: One warrant
        for all fines not remitted of field and. staff officers; and one other warrant
        for all fines not remitted in each and every company, and which shall be in
         the following form:
           "The commonwealth of Pennsylvania to A. B. greeting:
           " Whereas the peraons named inthe schedule or list hitherto annexed,
        have incurred the fine or fines set opposile to their respective names, for
        non-attendance and neglect of duty on thy, day or days of training appointed
        by law, for the militia of this coinrmonwealtl, and which have not been re-
        mittcd by the court of appeal of the proper battalion. Tifs warrant there-
        fore authorizes ard requires you to deniand and collect of each and every
        person named in the said list or schedule the sum set opposite to his name.
        And in case of neglect or refusal to pay the same, you are to levy and col-
        lect tire same, with costs, of the goods and chattels of each and every such
        person by distress and sale thereof, returning the overplus, if any, to tIle
        owner. Witness my hand and seal this                   day of         eighteen
         hundred and

                                                         Brigade Inspector.        L.S.

                              Brigade,           Division of Pennsylvania Militia."
           And the said brigade inspector shall deliver, or cause to be delivered,
        each of the said warrants to a constable, who is hereby required to execute
        the same, or to some olher fit person, at his discretion, froii whom lie shall
        require security, if lie thinks it necessary. Ard any person to whom any
        such warrant is delivered, shall, under the penalty of tw enty dollars, call on
        each and every person named in the list or schedule to ilie said warrant, if
        within the bounds of the brigade, within twenty days after lie has rereived Payment to
        the same, and demand payment of the fine or fines due. And ill          case any he demand-
        such fine or fines is not paid within ten (lays after demand, lie shall proceed od.
        to levy and collect the same according to the command of the warrant, with
        costs; and in the levy and sale of tire delinquent's property, lie shall pro-
        ceed inthe same manner that constables are, or shall be, by law required
        to proceed under executions; arld the said collector shall have the same Proceed.
        fees as are allowed to constables for similar services; and for want of suffi- ings to
        cient goods and chattels to pay tie fine or fines against him, every such de- compel
        linqueit shall be committed by the proper collector to the custody of tile       payment.
        sherifflor jailer of the proper county, to be held and detained until lie pays
        tie said fine or fines, or is discharged agreeably.to the insolvent laws of the
        commonwealth, and a copy of fire warrant certified by the said collector,
        shall be sufficient authority to the sheriff or jailer, to receive and hold such
        delinquent in custody, and which lie is hereby required to do until legally
        discharged. And the constable, or other person to whom any warrant shall Constables,
        be delivered, shall, witlhiL forty days after he has received the same, pay to &c.to pay
        the brigade inspector the amount of fines contained inthe schedule to said over tines.
        warrant, unless the said brigade inspector shall allow him further time to
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           1822. collect the same; but if the said person after the expiration of tile forty
                     days, shall fail, on the demand of the said brigade inspector, to pay the
                     amount of tile said fines to him, he shall forfeit and pay double tile amount
                     thereof, to be recovered by the said brigade inspector in tile name of the
                     commonwealth of Pennsylvania, as debts of equal amount are by law reco-
        Proceed- verable. And if tile said constable or other person, shall report to the bri-
        ings if ines gade inspector, which he is hereby required to do within the iaid forty days,
        cannot be that it is i mpracticable to collect some of the frles contained in the said
        collected, schedule, each of the persons to whom any warrant is delivered, shall make
                         such report. The brigade inspector shall order the field officers of the regi-
                         ment to be assembled, and persons having warrants shall appeir before the
                         said field officers, or a majority of them, who are authorized to net at the
                         time and place to be fixed on by the brigade inspector, of which they shall
                         have notice. And the said field officers having been first sworn or affirmed,
                         they, or a majority of then, shall determine whether it was and is imprac-
                         ticable to collect any such fines or not. And if they find any of the fines
                         contained in the warrants could not have beei, nor cannot be collected,
                         they shall make out two lists thereof and deliver the same to the brigade
          vield nffl. inspector, signed by the senior officer present ; and the said field officers,
          cord may when so assembled, or a majority of them, are hereby further authorized to
           xneoexonerate                          o
          Perso          exonerate any person or persons against whom warrants have issued, from
          fron th        tiny rule or fines against them which ought not to be levied anti collected
         payment of agreeably to this act, and ists thereof shall be made out and delivered to
         lines 11, ,r- t
         tain cases. cthe brigade inspector in m inner aforesaid; and the brigade inspector shall,
                        after having received said lists, exonerate any person having a warrant or
                        warrants from the amount of any fine or tines contained in the schedule to
                        the same, which by the lists aforesaid, it appears cannot be collected. And
         Bail nfcon. the bail required by law to he given by constables, shall be answerable for
         stables        tile amount of any military fines and forfeitures which may come into the
         liable  fir
         tines col. hands of said constable, in the same um.nner as they~are liable in all other
         letted,         cases, on the default of the constable. And the persons appointed to col-
         Compensa. lect the fines as aforesaid, shall receive for their services, any sum not ex-
         tion  to con.
         stablles     d ceediiig ten per cent. on the amount collected by them.
                   1a11                                                               And each field
         field 0111.officer shall receive one dollar       per day while employed in the performance
         cers.          of tile duties required by this section.
                            XXVII. [Repealed by 311 March, 18124, § 9.]
        Proceed-            XXVIII., If it shall happen that the prop~er officers shall not be elected
        ings on ne- in any regiment or battalion of militia, or in any company or companies
        glectrg to thereof, or who being elected shall fail to perform the duties required, in
        elect, or                I
        failure to causing the militia to be enrolled and trained, and returns made according
        perform         to law, it shall be the duty of the brigade inspector of the proper brigade,
        duties re-
        quired.         as soon after the first Monday in June in every year, as conveniently may
        Duty of            e, to employ one or more proper persons to enrol all and every person re-
        brigade in-siding within the bountids of every such regiment or battalion, or of any such
        spector. company or companies thereof, and liable to perform duty in the militia,
                        who shall proceed in the same manner, and have the.like authorities as are
                        given to captains or commanding officers of militia companies by the ninth
        Of the per. section of this act; and every person so employed to enrol as aforesaid,
        son ea.to shall make a return of the persons enrolled within the bounds assigned to
        played
        curb), &e. hi'm by the brigade inspector; and he shall be sworn or affirmed that the
                        enrollment so made, contains a correct list of all persons liable to perform
                        duty in the militia within the bounds so assigned to him, as far as lie could
                        ascertain the same; which oath or affirmation may be administered by any
                        alderman or justice of the peace, or the said brigade inspector : and which
                        return of enrollment shall be conclusive evidence that the persons therein
                        named are liable to perform militia duty; and each and every person so
                        enrolled between the ages of twenty-one and forty-five, shall pay the sum
          (i) If the ofnieccs are not elected, or fail to perform the duty, the brigade inspector appoints some
        one. 17 S. & It. 148.
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       of two dollars; and it shall be the duty of the proper brigade inspector as 1822.
       soon as lie has received any of, or all of the enrolments aforesaid, to trans-
       mit copies thereof to the auditor-general, and to issue one or more war.
       rants, as lie may think necessary for the collection of the said sum of two
       dollars from each of said persons; which warrants shall be in the form fo'
       .toving, to wit.
          The Comrlmonweallt of Pennsylvania to A. B.greeting:
           " Whereas tile   persons nained in the schedule or list hereto annexed, Warrant.
       have each become liable to pay the sum of two dollars, according to the
        militia law of this commonweall, this warrant, therefore, authorizes and
       requires you to demand and collect of each and every such person tile      sum
       of two dollars. And iuj case of neglect or refusal to pay the same, you are
       to levy and collect tile  same with costs, of the goods and chattels of each
       and every such person by distress and sale thereof, returning the overplus
        if tiny, to the owner. Witness my hand and seal this                   day of
                        eighteen hundred and
                                                       Brigade Inspector,       .
                                          Brigade            Division of
                                               Pennsylvania Militia."
          And tile  brigade inspector shall deliver the said warrant or warranits to a Duties of
       constable or other lit person, wi) shall execute tile    same, and from whom cuitable.
       lie shall require security, if lie thinks it necessary; and the said constable Olfield
        or other person, as well as thme field officers of the regiment, shall perform ottjcerp.
        the same duties, have the same authority, be subject to the like penalties,
        amid proceed in all respects, as is directed and provided by tle twenty-sixth
        section (if this act, for the collection of fines for non-attendance on days of
        training. But in case..there should  ...  not be at least three field officers of,!he brigade
                                                                                                 . of
        tile  regilnmet, then time brigade imspector is hereby required to order the inspector.
        proper nmmber of field officers from any other regiment, who shall perform
        till the duties required by the said twenty-sixth section. And the said
        brigade ispectors shall have the same powers amid authority, anl perform
        tile  same dilies as are required by said sectioi, and bliall account for any
        money received by virtue of this section, in the same maimer as is pro-
        vided for iii other cases. And the said brigade inspectors shrill pay to tile
        persons employed by them to enrol as aforesaid, as well as to the constables
        or other persons authorized to collect as aforesaid, such compensation as
        shall he reasonable and] just.
            XXIX. The compensation for services performed by direction of this compenea.
        act, except for serving as membr.rs of cotirts martial, and which is iot cors,    tion to
                                                                                                to ffi.
        herein otherwise provided for, siall be as follows :                              wit.
                        To each commanding officer of a militia company.                  Command.
        Taking the annual enrolment, each person lawfully erolled, three cents. ing ollicer
        Furnishing copy of roll to brigade inspector, one dollar.                         ,ra cor.
         Giving notice of anual tr~iining, fifty cents.
        Making return of absentees, one dollar.
        Furnishing copy of company roll to judges of election, fifty cents.
                          To each major or lieutenant colonel of militia.                 Major or
         Advertising company elections, and appointing superintendants therefor, lieutenant
            each company, fifty   cents.                                                  coloel.
                      To each commanding officer of a regiment of militia.                 Command.
         Advertising the regimriental or battalion trainings, one dollar,                  or' picer
                                                                                           ing regi.
         To each officer sitting to try contested electiois per day, one dollar.           mcat.
         To each member of a court of appeal for the militia, every (lay necessarily Memnber of
             and actually employed, o1ee dollar,                                           court of
         To each president of a court of appeal, making return to brigade inspec-aPpaL
             tor, fifty cents.
         To each field officer assembled to exonorate fines per day, one dollar.
                                                    22
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         18'22.        XXX. All oathrt or affirmations required to be taken by this act, and
       Oath, &c. not otherwise proviled for, may be administered by any judge, alderman or
       to ho ad. justice of the peace, or any commissioned officer, who shall performt such
       ministered service without any fee therefar.
       without
       fee.
                     XXXI. Troops ad companies of volunteers, except           within the bounds
       Volunteers of the first brigade, first divisioi, shall be organized as follows: There
       organized. shall be in each troop of cavalry one captain, one first lieutenant, one
       Number or second lieutenant, one coronet, one quarter master serge:nrt, four sergeants,
             In and four corporals, one trumpeter, one saddler, one farrier, one blacksmith, and
       officors
       men
       each troop not lells than thirty privates.
       oecavalry.   There shall be in each company of artillery one captain, one first lieu-
       Company tenant, one second lieutenant, one quarter master sergeant, four sergeants,
       of artillery. four corporals, two musicians, and not less than thirty-five artificers and
                     privates.
       Infantry.        'There shall be in each company of infantry one captain, one first lieu-
                     tenant, one second lieutenant, four sergeants, four corporals, two musi-
                     cians, and not less than forty.five privates.
       Riflemen.        There shall be in each company of riflemen, one captain, one first lieu-
                     tenant, one second lieutenant, four sergeants, four corporals, one bugler,
                     and not less than forty privates.
                         Provided hotewmr, That volunteer troops and companies now organized
                     may have the number of officers at present authorized: but whenever a
                     vacancy shall occur, said troops and companies shall only have the number
                     of officers above authorized : And provided further, That there shall not
                   be more than four companies of artillery in any division of militia, except
                   in the first division.
       When           And when tie members of any such troop or company, are within tile
       troop ora g bounds
                     ond of of dif'erent
                                dujerett brigades, such troop or company shall be attached
                                                                   ofads
                                                                      [lemebr     rsdeh to,
       within t1 and belong to the brigade in which a mrjority of the embers reside; ard
       bounds of the said troop or company shall be inspected, ard under tire order of tile
       different
       digades, proper officers of the said brigade, in the same manner as if all the mein-
       how at-       bers had resided therein.
       tached.         XXXII. The officers of volunteer corps, shall be elected by the menr-
       Electors or bers thereof; and wirenever a vacancy happens by the death, resignation or
       offices or
       volunteers, removal of any officer of a volunteer corps, his place shall be supplied by
                    a new election, to be ordered by tire brigade inspector, to be held and con-
       Vacancies. ducted in the same nanrer as elections to supply vacancies of captains in
                    tire militia. Arid whenever tire number of volunteers required by this act
       Brigade in. for any troop or company, shall have unifirined and equipped themselves
       spector to according to law, upon notice thereof, given to the brigade inspector, lie
       hunteer v.nshall, on a day and at a place to be fixed on by him, of which tire members
       Inspect
       companies, of tire said troop or company shall be notified, proceed to inspect the said
                    troop or company, and if lie finds the same to contain the number of men
                    required, wio are properly uniformed ard equipped, he shall on the said
       To hold day of inspection, direct air election to be held for the officers thereof;
       elections. which election lie shall superintend and conduct in person, and shall make
       How con. out and sign duplicate returns of the same, one of which said returns ire
       ductod, and
       turned,  re. shall file in his office, and the other transmit to tire secretary of the corn-
       certified, nmonwealth, together with a i ertificate of tire fact, that the said troop or
                     company has tire number of men required, properly uniformed, and eqrip-
       Non-corn.     ped; and the non-comnirssioned officers of every troop and company of
       missioned     volunteers, siall be appointed according to tie by-laws of' the same; and
       officers,     it shall not be lawful for any member of any troop or company of volun-
       Members
          r
                     teers, to withdraw from, or leave the same, without the consent of a ma-
        evolun- jority of tire commissioned officers thereof first obtained, nor without first
       not to wth-delivering trp in good order any arms or accoutrements which lie may have
       draw with. received; and whenever a volunteer shall have leave to withdraw from his
       uutaconsent   troop or company, tire captain or commanding officer shall furnish him
       of officers, with a certificate or discharge if required, and slhall also give notice thereof
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         to the commanding officer of the militia company, in which the said volun- 1822.
         tecr may reside, or if there is no such company officer, then to tie coin -
         mantling officer of the proper battalion or regiment.
            XXXIII. Any volunteer troops or companies, except within the bounds Formation
         of the first brigade of the first division, may be formed into battalions or lions
                                                                                       ,rlilta.
                                                                                            or
         regiments, in the fullowing manmer although not of the same descriptions regiments
        of troops or force.                                                           orvolun.
            Any number of troops or companies not less than three, to compose a teers.
         battalion, and have one major, one adjutant, one quarter master, anti one Number
                                                                                      companies
                                                                                                of'
         assistant surgeon.                                                           tofirm a
            Any number not less than five to compose a battalion, and have one battalion,
        lieutenant colonel, one major, one adjutant, one quarter master and one 'Il olicers
                                                                                        to ,a elect.
         surgeon.                                                                       ed.
           Any number not less than six to compose a battalion, and liave one lieu-
        tenant colonel, two majors, one adjutant, one quarter master, one surgeon
        and one assistant surgeon,
          And any number not less than eight, to compose a regiment, antd have vlhat
                                                                                   urn.
        one colonel, one lieutenant colonel, two majors, one adjutant, one quarter hrr tocon.
         master, one surgeon and two assisting surgeons.                                  r6ee.
           Amid troops of cavalry may he organized as follows:                     Ilanolion,
           Any number not less than three to compose a battalion, to have the same and regi.
        officers as is before provided for the same number of companies.           ,I,,tsor
            Any number not less tian fotur to compose a battaliou, and have one "" ary,
        lieutenant colonel, one major, one adjutant, one quarter master and one eI, and
        surgeon.                                                                        officers
           -Any number not less than five to compose a battalion, and to have one elected.
         lieutenant colonel, two majors, one ajdutant, one quarter master, one stir-
         geon and one assistant surgeon.
            Any number not less thnm six to compose a regiment, and have the same
         officers as is before provided for a regiment.
           And each regiment antd independent                    shall have one ser-
         geant major, one quarter master serge:mit, and two principal musicians.
           And the members of any said battalion or regiment, shall elect the field Field nfi.
        officers, and the coniinandiig o licer thereof shall appoint tile colnlllis-cerbY
        stioned aid non-colnnissioned staff" officers for the same, ani supply vacan- elected,
        cies as often as they occur.                                                    and Maltff
           And whenever any number of troops or companies have agreed to as- ppointced.
        sociate in mannier aforesaid, upon notice being given to the proper brigade Election
        inspector, or incase the said troops and companies are in diflerent brigades, ror  field
        then to tile brigade inspector inwhose brigade the election is proposed to otiles.
        be held ; who shall order tile said troops amd companies to meet in stoine
        central pltce, and on a ,lay to be fixed by him, of which fifteen (lays public
        notice shall be given by him. And at the same tilne and place, the mem-
        bers of the said troops and companies shall proceed to the election of the
        field officers authorized by this act. Anti the said election shall be held 11ow con.
        and conducted by the said brigade inspector in person, in tile    same manner ducted.
        that the battalion elections are directed to be helti, and duplicate returns
        thereof made out and signed, one of which shall be filed in his office and
        the other transmitted to the secretary of the commonwealth. And as often
        as a vacancy occurs by the death, resignation or otherwise of any such Vacancies.
        field officer, an election shall be held to supply tile vacancy, which shall be
        conducted and returned in all respects, as is directed aid prescribed by
        this act, in the case of militia battalion elections, only, that instead of the
        major of the militia battalion, the brigade inspector shall appoint one ofWlo to su.
        the officers of tlme said volunteer regiment or battalion, who shall alone and perintend
        without the aid of a judge therein provided for, superintend and conduct said election.
        election and make return thereof: Provided, That unless required to be held
        sooner, the said election shall be held on one of the days fixed on for the
        meeting of the said battalion or regiment of volunteers. And no troop or
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           1822. company shall be permitted to withdraw from the battalion or regiment of
      Troop or       volunteers to which the same is attached, without the consent of a majority
        company of tile field officers thereof.
        notto with. And each regiment of volunteers shall be entitled to a pair of colours,
       draw.
        Regiments and each battalion of volunteers to a battalion colour, to be properly and
        andbatta, appropriately marked, to be procured and purchased by tile       proper brigade
        lion or vo. inspector, at the expense of the state. And the commanding officer of
        lunteera
        euntledsto evcry such regiment or independent battalion, may once in every year,
        colours, order all the commissioned officers thereof, to meet at a time and place to
       Commis- be fixed on by him, for the purpose of drill. And every officer failing to
       sinned off. attend, shall be subject to a fine of three dollars, to be collected by virtue
       ccrs may of a warrant from the adjutant, in the same manner as other fines are col-
       he ordered
       to drill. lected under this act.
       How regi.       XXXIV. Within the bounds of the first brigade of the first division,
       ments or regiments of volunteers shall be formed of troops and companies of the
       volunteers
       in Istbri. same description of arms in the manner following, that is to say
       gade, let Each regiment of cavalry, artillery, infianttry, and riflemen shall have one
       division to colonel, one lieuteqant colonel, two majors, one adjutant, one quarter-mas-
       be fo d.ter, oUe pay-master, one surgeon, two surgeons' mates, one sergeant major,
       Officers           noparms
       a reg~cnt. one tiarter-m3ster     sergeant, and two principal musicians.
       A regiment Each regiment of cavalry, shall consist of at least six troops, each troop
       ofeavalry shall consist of one captain, one first lieutenant, one second lieutenant,
       to
       of consist
           air      oie coronet, one quarter master sergeant, four sergeants, four corporals,
       troops,      one musician, one saddler, one farrier, and at least thirty privates.
      Ofartillcry,     Each regiment of artillery shall consist of at least six companies, each
      six coin,     company shall consist of one captain, one first lieutenant, two second lieu-
      panics.       tenants, one third lieutenant, one quarter master sergeant, four sergeants,
                    four corporals, two musicians, and at least sixty-four privates. The com-
                    manding officer of the regiment, to designate one of the second lieutenants
      Battalions of each company, as conductor of artillery for said company. But if there
      to be form- shall not be a sufficient number of companies to form the said regiment,
      ed.           then ally number of companies not less than three nor more than five, may
                    be formed into a battalion, and have one lieutenant colonel, one major, one
                    adjutant, one quarter nmaster, one pay-master, one surgeon, one sergeant-
                    major, and two principal musicians.
      Regiments        Each regiment of infaitry and riflemen, shall consist of at least eight
      ofinfiutry companies, each company shall consist of one captain, one first lieutenant,
      men rifle,
      and      to   one second lieutenant, one third lieutenant, four sergeants, four corporals,
      consist of two musicians, and at least sixty-four privates.
      S.Compa.         And the said field officers shall be elected inthe same manner, and at
      neR.          the same time, as is provided for the field officers of other volunteer regi-
      Fiel offl
      cers how      ments. And the said commissioned and non-commissioned staff officers,
      elected,      shall be appointed by the commanding officers of the said regiments or
      Stal', by     battalion of artillery.
      whom ap.        XXXV. Every regiment and independent battalion of volunteers, shall
      pointed,      meet once in every year, if required by the proper brigade inspector, for
      Regiments                      tm an
      and inde. inspection, at a time and place to be fixed on by the commanding officer
      pendent of said regiment or battalion, and as much oftener for training, as shall be
      battalion of determined on by the companies or troops composing the same, and at such
     volunteers
     to meet for times and places as the said companies and troops may agree and fix on.
     inspection. And the members of the said troops and companies, shall be subject to
     To be sub. the like fines for non-attendance, as in the case of company or troop train-
     ject to fines ings, and to be collected intie same manner; for tie use of the said troops
     for non-at.
     tendance. or companies respectively.
     May make        And every regiment, battalion, troop, and company of volunteers, shall
     hy.taws.     have power to make all necessary by-laws, rules and regulations, not incon-
                  sistent with the constitution and laws of this state, or of the United States,
                  to promote the interest, good order, and dicipline of the same, and for
                  fixing on, and giving notice of the times and places for parades and trainings
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            Volunteer corps shall be ranked in the followiing order, te wit: First, 1822.
         cavalry; second, artillery; third, infantry; and fourth, riflemen. And all -0o -'l
         troops and companies of the same description of force, shall take rank volunteer
         according to their priority of organizatioa. All officers of the same grade., corps.
         without regard to the corps to which tlhey belong, shall take rank accord- Ihow rank
         ing to the dates of their commissions respectively. And whenever officers ofofficers
         have commissions of the same date, their rank shall be established by lot, to       be deter.
                                                                                         mined.
         in the presence of the commandinr officer ; but officers of the volunteers
         of the same grade with officers of the militia, and when their commissions
         are of the same dale, shall take rank of such officers of the militia, but
         not otherwise, P]rovidetd, That all officers, who at any election or appoint-
         rient, shall be elected or appointed to offices of the same grade, shall rank
         according to the dates of their preceding commissions.
            XXXVI. The captain or commanding officer of every volunteer troop Roll ofeo.
         or company shall, on or before the third Monday in May, in every year, de- luateer
         liver or cause to be delivered to the proper brigade inspector, a complete delive
         roll of his troop or company, under oath or affirmation, and if the same is annually to
         attached to any battalion or regiment of volunteers, the fact thereof shallI brigade in.
         be stated, and the said captain or commanding officer of any last men-Spector.
         tioned troop or company, shall also furnish to the adjutant thereof, on or
         before the said third Monday of May, in every year, a roll of the same.
         And the adjutant of every volunteer battalion or regiment, shall, on or be- To he fir.
         fore the said third Monday in May, in every year, deliver, or cause to he nislhd with
         delivered to the proper brigade inspector, or where the troops or companies a      roll of
                                                                                        iht1d and
         belong to the different brigades, to the brigade inspector of the brigade in s afl'oni-,
         which the election for field officers was originally held, a roll of the field cers.
         and staff officers thereof. And each of the officers failing to perform the Penalty cr
         duty required by this section, shall forfeit aud pay the sum of twenty dol- neglect.
         lars; and the said officers shall have the like compensation as is given to
         officers of militia for similar services.
             XXXVII. The several volunteer troops and companies in this common-Volunteer
         wealth, shall meet at least three times in every year for training, one ofiro,,ps and
         which days shall be at the time and place, when the said troop or company comese
         is to be inspected by the brigade inspectors, and the other days of training, three times
         at such time and place as shall be determined on by a majurity of the mem- a year ror
         bers of the said troops or companies, of which public notice shall be tining.
         given, by the captain or commanding officer thereof, at least ten days be-
          fore any such meeting. But all volunteer troops or companies, not belong. Vuen to
          ing to any regiment or battalion of volunteers shall be attached by the attach to
         brigade inspector to the most convenient regiment of militia, and shall regiments.
         parade and train with the said regiment, or such battalion thereof as shall
         be directed by the commanding officer at the annual trainings, provided for
         by this act, and shall be under the orders of tile commanding officer of the
         same, which day of training shall be accounted one of the three days re-
          quired by this section. All volunteer troops or companies belonging to
          any regiment or battalion of volunteers, shall not be obliged to parade or
         train with the militia. And the officers, non-commissioned officers, mummsi-Suject to
          cians and privates of said troops or companies, shall incur the like fines like fines.
          for non-attendance, on said days of training, as is directed to be paid by
          the militia of this commonwealth. And the members of the said troopsMay meet
          and companies, or a majority of them, shall at their first meeting in every on other
         year, determine whether they will meet on any other days than, those • re- thosedays than
                                                                                                 re.
          quired by law, and how often, and when, and where.          And the said offi- qaired by
          cers, non-commissioned officers, musicians and privates, shall incur such law.
          fines for non-attendance on any of the said lays, as may be determined on
          by the by-laws of the troop or company, not being less than half the amount
          of fines for non-attendance on the (lays of training required by law.
             XXXVIII. On every day of parade and training, directed and authorized Rolls to he
          by this act, for volunteer troops and companies, the rolls of the said troops called.
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       1822.     and companies shall be called under the direction of the captain or com.
                 manding officer thereof, by the first or other sergeant, and all absentees
                 noted, and lists thereof kept, to be presented to the officers of the said
                 troops and companies, when acting as a court of appeal, as hereinafter
                 directed. And all members of said troops or companies who shall leave
                 the ranks during the hours of parade without permission, or shall not be
                 properly uniformed and equipped, shall be considered and marked as ab-
     Fines in. sentees, and incur the like fines. And the said sergeant shall, on or before
     curred for the first Monday in November, in each and every year, make out a complete
     reavig      list of all absentees, on any of the appointed days of training, for the pre-
                 ceding year, stating particularly, the days on which said member was marked
     List or ab. as an absentee, and being sworn or affirmed to the said list, shall deliver the
     snrtees to same to the said officers acting as a court of appeal on the said first Mon-
     ed tocourt day of November in every year. And the captain or the commanding offi-
     ofappeal. cer shall give public notice to the members of his troop or company, of the
     Notice of place where tile      said officers will sit as a court of appeal ; and on tile
                                                                                             day,
     its sitting, and at tie place aforesaid, the officers of every troop and company shall be
                   assembled and compose a court of appeal for their respective troops and
                  companies, and shall take the same oath or affirmation, and they or a ma-
                  jority of them, have the same authority, proceed in the same manner, and
                  remit fines for the same cause as is directed, given and pr,.-scribed in the
                  case of battalion curts of appeal for the militia. But no (irnes shall be re-
                  initted, or redress given by any other authority, at any other time or in any
                  other manner. And as soon as the said courts shall have decided upon all
                  cases before them, they shall make out lists of the memibers of the said
     May remit troops, or companies, whose fines were not remitted, stating opposite the
     certain      name of each member, the amount of fines not remitted : to be signed by
     cases,       the officers composing the said court, with a certifi'ate attached thereto,
     A list of that they had been sworn or affirmed according to law, and shall deliver
     fines not t the same to the captain or commanding officer of the said troop or comn-
     remnitted
     bemctid      pant'. And the said captain or commanding officer shall, within ten
                                                                                            days
     ed.          thereafter issue a warrant under his hand and seal in the following form .
                    The commonwealth of Pennsylvania to A. B. greeting:
                     "Whereas the persons named in the list or schedule hereto annexed,
                  have incurred the amount of fines set opposite to their respective names us
                  members of the volunteer corps of (designating it by its proper title), as
                  absentees on the days appointed for training, which have not been remitted
     Form Ofthe by the proper court of appeal. This warrant therefore authorizes and re-
     warrants. quires you to demand and collect of each and every
                                                                            person named in the
                  said list or schedule, the sum set opposite to his name. And in case of
                  neglect or refusal to pay the same, you are to levy and collect the same with
                  costs, of the goods and chattels of each and every such person by distress
                  and sale thereof, returning the overplus if any, to the owner. Witness my
                  hand and seal this                     day of                 eighteen hundred
                  aind

                                                                        Captain."       L.S.
                                                  [or commanding officer of the
                                                     volunteer corps, naming it.]
                      -Andthe said captain or commanding officer shall immediately deliver
                  the said warrant to a constable or other fit person to be executed, and who
     To be de. is hereby required, under the penalty of twenty dollars, to be recovered by
     livered toa tle said captain for'tie use of the company, to execute the same, who shall
     constable perfown the same duties, have the same authority
                                                                      and compensation, be sub-
                  ject to the like penalties, and proceed in all respects, as is provided and
     Ills duties, directed by tie twenty-sixth section of this act, only, that the said captain
                  or commanding officer, shall be in the place and situation of the brigade
                  inspector mentioned in the said section, and shall have all the rights and
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        powers therein given to the said brigade inspector; as well in proceeding             1822.
          against the said constabie or other lit person in recovering the amount of
          fines collected by him as otherwise: Prot'ided however, That every troop
          and company of volunteers may authorize courts of appeal to be field by
          any of its members, and at such time and times as may be fixed on by tile
          by-laws thereof, and the fine and fines for non-attendance and neglect of
         duty, may be collected as often as shall be determined oir by the said by-
         laws; and which courts of appeal shall be conducted, and the fines collected
         under the provisions of this section ; and all fines collected from tile mciii-
         bers of any volunteer troop or company, shall he for tie use of tile said
         troop or company. And the captain or commanding officer of any troop of
         cavalry or company of artillery, when he has received from the collector any
         such fines, shall pay the same to tle quarter mister sergeant thereof. And
         the captains or commanding officers of any companies of inflantry or rifle- Appropria.
         men, upon the receipt of any such lines, shall pay the same to the jnnior lie or"
         lieutenant or other person appointed by the company, to be appropriated liles•
         and applied by them in defraying the necessary expenses of the said troops
         and companies under the direction of a majority of tie commissioned
        officers thereof, arid they shall render an account thereof to the said ofiicers,
         under the penalty of fifty dollars at the first meeting of the troop or com-
        pany in every year.
             XXXIX. It shall be lawful for any member of a volunteer corps, to be Atemlnrs
        at the same time an officer of the militia, with the consent of Iris company ; olvohi-
        nor shall tIe commission of any officer of a volunteer corps, be vacated by. teer     ay corps
                                                                                                 beor.1
        his election or appointment as a field or stall officer, of a battalion or regi- ticers ortia
        ment of volunteers; but lie may continue to hold the same if requested by militia.
        the company.                                .....                                 Commis.
                                                                                           jnt s not
             XL. The uniform and equipments for the militia officers of this Com- vcte,            d
                                                                                 of the &C.
        monwealth, shall be the same as that prescribed( for the oflicers
        United States army ; and it shall be the duty of the adjutant general to Unirtrm
        obtain a description thereof, and furnish each brigade inspector with a suf. and equip.
        ficient number of copies for himself, and each major and brigadier general, Pkscription   .
        and each field officer andi captain of volunteers and militia, tie expense therefto
        whereof shall be paid out of the state treasury. But the governor is hereby be rufilioh.
        authorized to alter the dress for thre company officers, so as to render the ed        by adju.
                                                                                           tnit gene.
        same less expensive, if lie shall deeni it proper and advisablo; .and which r;1.
        uniform so prescribed by him, shall be established fir that class of officers, Governor
        and descriptions thereof fuarnished to the brigade inspectors immediately, may alter.
        for the use of said officers; the expense of 'urnrishiug which to be paid in
        manner afroesaid. Ari every officer shall he armed and equipped at his Officors to
        own expense ; and if uny officer shall fail to uniform and equip lrimself he uni.
        within six months after his election or appointment, if lie accepted of tIh reiped and
       office, lie shall be liable to a fine of twenty dollars, to be r,,covered by the tt thvir
        brigade inspector ; ard every officer so elected or appointed more than six own ex.
            ntlrs, shall appear on every day of parade uniformed and equipped as pease.
        aroresaid.
            XLI. Volrnteer troops and companies may uniform and equip in such tiow vc.
        military manner as they may think proper, conforming as nearly as may he lnteer
       to tie sanie kind of force in the army of the Umited States ; lrovdeW troops a.nd
       however, That companies having a uniform dress, nu acting :is infantry, are to lie
       may be supplied with muskets and bayonets, cartridge boxes and belts, iftni "tor el e .
       there be sufficient, after supplying the companies properly uniformed ard
       equipped, upon sufficient security being given therefor, in the manner
       hereinafter directed ; but such company shall not be entitled to tire sum
       allowed by the forty-sixth section, nor shall the members thereof be entitld
       to the exemption provided for in the forty-seventh section of this act.
            XLI I. Every artillery and infantry volunteer company, uniforrnted anid Volunteer
       equipped, and the officers thereof commissioned agreeably to tliis act, shall eorps . to
                                                                                                  enti.
       be entitled to the following arms, viz. To every such artillery company, the aris.
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              1822.  proper number of muskets and bayonets, cartridge boxes and belts, and if
        Artdlcry.    required, itd they can be supplied out of the arsenals, twelve pikes,
                     together with one piece of artillery of the proper calibre, with all the appa-
                     ratus and equipments complete. And tile governor is hereby authorized to
                     cause to be issued to the first lawfully organized artillery company properly
                     uniformed, ii each brigade who hnve a field piece, the proper number of
                     swords and belts in lieu ofr uskets, for the noi-cotmissioned officers, mu-
                     Ficians and privates thereof, upon the order of the proper brigade inspector.
        Inrantry. And to every such infantry company, the proper number of' muskets and
                     bayonets, cartridge boxes and belts for the non-commissioned officers and
        How to ho privates of the same. And the proper brigade inspector shall make a requi-
        drawn ibr. sition upon the adjutant general for the arms aforesaid, who shall give him
                     ar order therefor to the keeper of the nearest or trost convenient arsenal;
        Expcnso           the said brigade inspector shall thereupon draw the said arms and de-
                        lnd
        how laid. liver the same to the company aforesaid, and the expense thereof shall be
                     defrayed out of the state treasury, to be paid to the said brigade inspector
                     upon the settlement of his accounts.
        Security to XLL I.lefore any arms and accoutrements are delivered to any volunteer
        bo g:ven for company, sufficient se -urity shall be given for the return and delivery of the
        retthfnin
        good order 'anie in good order aird condition, upon the dissolution of the company or
        olflrns,      whenever lawfully required. And all volunteer companies that have already
        &C.           receiled ..iins or accoutrements shall give the like security; on failure
                       whereol, it shll be the duty of the brigade inspector, and he is hereby
                       required to take possession of tile   said arms, to be disposed of in tile
                       manner hereinafter directed ; and it shall be the duty of every commanding
                       officer of a company, to take duplicate receipts from the non-commissioned
                       officers and privates of his companiy for tile   arms delivered to them re-
                       spectively, one of which receipts shall be given to the brigade inspector to
                       be filed in his oflice.
        Duty oft rt. XLIV. It shlu belthe duty of every brigade inspector, and he is hereby
        gado in. required to collect or cause to be collected from time to time, all mili-
        spector to
        collect        tary arms and other military property of this commonwealth, in the hands
        arms, &e.or possession of any person or persons not entitled by law to hold the "ame,
        and
        iilh     turn, for which he shall receive a reasonable compens.lion ; and to furnish a list
            atolist
        thereoofto of the said arms anrd property when required by tile       adjutant general, as of
        adjutant    all arms and public property in the possession of ainy olohmteer company,
        general.    who have not given the security required by this act, or are not lawfully
         Duty n'ad. enitled to the same; and the said adjutant gei.eral may order all such arms
        jutant ge- ind] public property to be conveyed at the expt-:z;: of time state to the
         neral.     nearest arsenal ; and the said adjutant general is hereby required to make
                   such regulations relative to the amount and kind of security to be given for
                   arms and accoutrements delivered to volunteer companies, as well as all
                   such other regulations for the disposition, security, and preservation of the
                   arms and military property of this commonwealth, as lie may from time to
                   time find necessary and proper to promote the public interest, and which
                   the several brigade inspectors are hereby required to obey and carry into
                   effect under the penally prescribed in the fifty-seconi section of this act,
                   besides being amenable to a court martial for neglect of duty.
        Volunteers    XIV. Every volunteer who may have received public arms and accou.
        to keep    trements, shall keep tile same in good order and repair at his own expense.
        their arnis
        iII    (ad    And if any volunteer shall loan his arms to any person whatever, except to
        orker at      a volunteer to parade or drill, or shAll knowingly suffer any other person to
        their own
        expe~nse.
                      use the same, except fui' drill or training, lie shall be subject to a penalty of
        Pennlty forfive dollars. And if any volunteer shall sell or dispose of' his arms, or shall
        loaning or quit his company by removal out of the neighbourhood or otherwise, with.
        selling    out delivering up the same in good order to his commanding officer, lie
         ther in shall forfeit and pay the sum of fifteen dollars, to be recovered by the said
        certain
        cases.        commanding officer, as debts of equal amount are recoverable; and for
                      want of sufficient property to pay the same, lie shall be committed to the
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         jail of the county for fifteen days. And if Upon the death of any volunteer,         IR22.
         his heirs, executors, or administrators, or any of then, shall neglect or re- Armns to be
         fuse to deliver up to the commanding officer of the troop or company todelivcred
         which he belonged, any arms, accoutrements, or instruments of music, which tain
                                                                                       ll!in cer.
                                                                                           cases
         he may have received, they shall forfeit and pay the aforesaid sum, to be under pen.
         recovered from any one of them, in the mamer aforementioned. And it Ulty.
         shall be the duty of the proper brigade inspector, to pay the expense neees- ltrigadc in.
         sary, for the repairs of any field piece, and
                                                    a •     aparatus, and equipltents
                                                       the ,:.'               ' .     spctor
                                                                                      pny
                                                                                              to
                                                                                          for re.
         thereof, in tihe possession of aty volunteer artillery compatny, or of any ais o,
         drums or other itstruments of music, authorized to be furniished by law, to "i ot
         the volunteers or militia.                                                   pieces, &C.
           XLVI. [Repealed by 10 April, 1S26, § 9.]
           XLVIi. Every person who shall have been uniformed and equipped Volnteers
         agreeably to this act, atd faithfully served as a member
                                                              • , of any organized
                                                                               ,   bv,9 7
                                                                                   served
         volunteer corps, for seven successive years, since the first of January eigh- yeare t'ralu
         teen hundred and eighteen, atnd]   shall produce a certificate of such service, i t OrJan.
         from the captain or commanding officer of the corps in which he has so 1i, to be
         served, he shall for ever thereafter be exempted frotm mtilitia duty, except ilm
         time of an invasion, insurrection,, or actual war : Provid, The persons
         exempt from duty in pursuatnce of this section, shall be enrolled inthe satne
         manner as if they were not exempt : Provided howcwtr, That if'        the fact (if
         such service shall be disputed, the certificates aforesaid shall be sworn or
         affirtned to by the officer giving the saine, or proof of such service tmade
         it some other satisfactory mamer. And it shall be tle duty of the captain Officers
         or cotmnmanding officer of every troop or company of volutteers, to pro-iolro-      uni.
         cure itn orderly book, intwhich ieshall cause to be entered the namie aud teers to
         place of residence of every imeinber thereof, and the time (being properly procure
         uniformed and equipped) he may have joined the troop or cotopatty ; and orderly
         ontevery (lay of parade or training, when the roll is called, it record shall be hok, &c.
         kept in said book, of both those present mid those absent; atnd if ammy volu- What a
         teer shall not have attended on at least three-fourths of the days of parade service fir
          or training of his troop or company, for seven. successive years, unless absetit     yeas.
          for some of the causes wIhich]  would aulltorize ltit to be excused agreeably
          to this act, lie shall not be considered as having faithfully served agreeably
         to the preceding part of this section.
             XLVIII. Every person, who shall have been properly uniformed and Officers,
                                                               ui       o&c                   serving
          equipped, and have fiflly served as a commissned officer for seven 7 years,              to
         successive years, in tile volunteers or militia of this cotmitnomweahh, stnce be exempt.
          the first day of January, eighteen hundred and eighteen, shall for ever there-
         after be exempted from military duty, except intime of an invasion, insur-
          rection, or actual war.
             XLIX. Each brigade inspector heretofore elected, or who may hereafter Brigade in-
         be elected itt pursuance of this act, shall take am oath or affirmation, to per- beoleoth.
          form his duties with fidelity, amd transmit a certificate thereof to the adju-
         tant general, and shall execute all orders relative to duty, received by him
         from the adjutanit general. lie shall attend each regimental or battalion
         parade, and shall annually inspect the said regiments atnd battaliots ; and lfis duties.
         shall also, once in every year, inspect each volunteer troop of cavalry, and
         company of artillery, infantry, and riflemen, within the bounds of the bri-
         gade. But wheni aty such troop of cavalry, or company of artillery, infaitry
         or riflemhen, shall lie part of a regiment or battalion of volunteers, lie may
         itspect the said troops and companies separately, or in battalion or regi-
          ment, as lie may thiuk proper. And the said brigade inspector shall direct To appoint
         the time and place, when and where any such troop, comnay , battalion, or place o
                                                                                         I aIspctiont.
         regititmnt, shall assemble to be inspected as aforesaid ; andi shall give at least To furnish
         twenty days public notice thereof. Ile shall ammnually furnish to the adjutant annually
         general, a detailed statement of the militia and volunteers within his brigade, statements
         at such time and insuch manner, as the said adjutant general shall direct. or        the mili-
                                                                                            tie.
         Ile shall keep a record of all alterations in tne bounds of the brigade, regi- xcep a
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         1822.    ments or battalions, or of the formation of any new one, and shall give in-
      record or'  formation thereof to the adjutant general, and shall generally furnish him
      the altera- with information upon all subjects connected with military duty in his bri-
      tions of    gade, whenever required to do so; and shall also furnish like statements to
      brigades,
      &C.         the major general of the division, and brigadier general of the brigade, once
      To furnish in every year when required. The brigade inspectors shall transmit all re-
      statements turns of elections and appointments of officers under this act, as soon as
      and"'jor
      to   briga- practicable, to the secretary of the commonwealth, and shall distribute to
      die r gene.  the proper officers, all commissions received by them. They shall take
      rnls.        charge of, and be answerable for all military articles which may be delivered
       Transmnit to them. They shall make an annual return to the adjutant general, of all
       returns,&e. arms and other military property in their possession, and of the condition of
      'To be aii. the same, and of the arms and other military property, distributed in the
      swerable
      fbr all mill- brigade, in such form and manner as shall be directed by him.     The said
      tary arti.  brigade inspectors shall sue for, and collect in the name of the common-
      clCs, &C. wa
      and make wealth all fines, forfeitures, and other sums, for which no mode of collection
      return of   is prescribed by this act, and recover the same as debts of equal amount are
      arms sue by law recoverable. They shall procure and purchase all the necessary
      fr and col. colours, drums, fifes, trumpets and bugles. They shall pay all expenses and
      leer l                 rusfie,                    oges,
      &C.         sums of money directed to be paid in their several brigades, to the persons
      Purchase entitled by law to receive the same. They shall keep an accurate account
      colours,    of all monies received and expended by them. They shall account for all
      drums, &C. fines not remitted by the proper courts of appeal, or imposed by courts mar-
      Payex
      PCalses" &0 tial, and directed to be collected by them, and shall only be released from
      Account    their accountability for any such fines, by producing a certificate of a board
      fw moneys, of field officers, to be signed by the presilent thereof, that it was impracti-
      Annually cable to collect the same. They shall annually, in the month of January,
      to settle  settle wih the auditor general, who is hereby required to settle and adjust
      their ac.
      counts.     their accounts, and shall pay into the state treasury, any surplus arising from
                  fines and forfeitures, which may remain after payment of the sums and
                  expenses, directed to be paid by them by this act, in their several brigades,
                  first deducting five per cent, on the amount so to lie paid into the state trea-
      Books, &c. sury. And on the removal or resignation of any brigade inspector, all the
      to be deli- books, vouchers, papers, and public property, which may be in his posses-
      vered to
      their sue.    SiOu, shall be delivered to his successor.   And if any brigade inspector as
      cessors.    aforesaid, shall fitil to settle his accounts annually, with the auditor general,
      Oil failure during the time prescribed, or shall neglect or fail to pay into the state trea-
      to settle
      accounts,     sury, the balance die upon such settlement, upon demand made by the state
      &c. bond treasurer, and of which settlement the auditor general shall furnish the state
      to be sued. treasurer with an account, or shall neglect or refuse to deliver over to his
                  successor, the books, vouchers, papers, and public property, in his posses.
                  sion, on notice given to the auditor general thereof, the said auditor gene-
                  ral, or the state treasurer, as the case may be, shall, and it is hereby made
                  their duty respectively, to cause the bond given by the said brigade inspector
                  and his sureties, lodged in the recorder's office of the county, to be sued
                  out and recovered for the use of the commonwealth, as well as in all other
                  cases of neglect of duty; but any such suit may be stayed, upon the said
                  br;gade inspector's performing the duties above required of him. And on
      In the case tie death of any brigade inspector, all the books, vouchers, papers, and
      oldeath, public property, which he had iu his possession, shall be delivered over to
      books, &v.                                                          l
      to be deli. his successor, by the executors or administrators of such deceased brigade
      vered,      inspector, under the penalty of one thousand dollars, to be recovered from
                  them, or either of them, by the said successor, in the name of the common-
                  wealth, as debts cf like amount arc recoverable. And each brigade inspector
      Compensa- shall annually receive as a full compensation for his services, including blanks
      tion.       and stationary, seventy-five dollars pfr regiment for the three first regiments,
                  and fifty dollars per regiment For every additional regiment of militia rand
                  volunteers of his brigade, and for volunteer battalions in proportion, "o be
                  paid out of the state treasury.
                             MILITIA.
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         L. It shall be the duty of each brigade inspector, at the time when ie 1 22.
       is annually required to settle his accoults, to exhibit to the auditor-general, Brigade in.
       a .tutement of the expenses incurred in his brigade, for the preceding year; spector to
       which statement the said auditor-general•~~~ is required.•'  to examine and adjust, rurnish
                                                                                             tatein|ota
       making tile  allowances intended by the law ; and if,        upon the settleien o re penve
       the accounts of the said brigade ingpector, it shall be found that the fines to auditor
       and forfeitures have been insufficient to pay the said expenses so adjusted gencral.
       and allowed, then the said autlitor general shall draw, his 'ttarrant tit        the 1vio to
       stale treasurer, fir the amount
                                   •     of                ••watr which the brigade in sec-,draw
                                          "* such dificirnry,                                      his in
                                                                                                 rain,
       tor shall ininiediartlilthereafter pam,to the. " q/ticers
                                                        ,.u•
                                                         • .             * " rttled to rcCageif
                                                                  or persons                 ase (ntd11.
                                                                                                       i...
       ceivC the same: 1 rovided /howwcer, That the stlms allowed to volunteer liciency.
       corps, by the forty-sixth section of this act, shall foirm no part of the ex-
       penses to be drawn from the state treasury in maniinr aforesaid.
           LI. If any brigade inspector slall neglect or fail to Inakce the returns to Blrigade in.
       tie adjutant-general, or perform any other duty according to this act, it sejctor nr-
       shall be the (ity of the said adjutant-geieral to give notice thereof to the glicting to
                                                                                              erforIn  tis
       state treasurer, when thc compensation of tie said brigadle inspector shall,:iduty          not to
       be forfeited from the time of such notice, until he perfirnis his dity accord- receivo
       ing to law; and he shall only be entitled to the same for tie residue of tie C,,,        1 ieas.

       year; and the said brigade inspectors shall also be amenable to courtsAmenable
       martial for neglect of duty, in the same manner as all other of'ences.                 to courts
         LII. The discipline of the volunteers and militia of tis coin mon wealth, martial.
       shall be the stine as that prescribed for the army of the United States: and I)iucipline.
                      duty of the adjutant general, to select the best abridged sys- Sys ei,
       it shall be tile                                                                  to be
       ten for the instruction and discipline of clivalry, artillery, inflntry and sclbcted by
       riflemen, making such alterations as may be deinied necessary for tile   use ailjutint
       of the militia and voidoteers of this cotmonwealth, find shall submit the general.
       same to the governor, and if approved of by him, a sufficient number ofAPlrv ed       '
                                                                                     oI by the
       copies to furnish each general and brigade inspector with a copy thereof, governor.
       and each field officer and captain of a company, with a copy of the system
       applicable to his particular corps, shall be procured at the expense of the Who ,hall
       state, andltransini'ted to the several brigade inspectors, to be delivered to receive
                                                                                      opie
       the said officers respectively, who shall receipt for and deliver tie same to c s.
       their successors inoffice, under the penalty of tell
                                                          dollars, to be recovered
       by the person suing for the same.
          LIII. On eaci of the days (if training authorized and required by law, Mu'sictiobe
       the coniumoding ollicer of every troop of cavalry, may eml)loy one trum-pr- cured
       peter; tie comnmanding officer of every rifle company, one bugler ; aid the ad paiid.
       oomaudling oflicer of every company of artillery, infantry and of militia,
       one drunimer and one fifer, who shall be severally entitled to receive the
       sum of one dollar per day, for each of said days of training, to be paid by
       the proper brigi dc inspector, upon the certificate of the commanding offi-
       cer of the troop Jr company.
          LIV. If any youth of the age of twelv. years aid not exceeding the Perins to
       age of twenty one years, shall, with the consent and approbation of his te taught
       parents or guardians, attach himself to any company of volunteers or militia 'us.
       for the purpose of learning to beat the drum, llay on the fife, blow the
       bugle or trumpet, provided the number shall not exceed one person for the
       drum and one for the fife, or one for tilebugle in each company, and one
       for the trumpet in each troop of horse. Every such person or persons shall
       be liut under the instruction of the drum and fife major, the bugler or trum-
       peter its tile
                    case may be, whose duty it shall be to teach such person or
       persons, in the best manner in his power. And as soon as such person or
       persons shall be able to perform field duty to the satisfaction of the con- When paid
       mandng officer of the regiment, or of the volunteer troop or company, to for.
       which lie is attached, lie shall draw his warrant infavour of the drum or
       fife major, the btigler or trampeter, who may have taught such person or

                                (1) The part in italic repealed by 29 Sep. 1843,   1.
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         1822.   persons as aforesaid, for the sum of ten dollars for every person so taught,
                 to be paid by the proper brigade inspector; and the person so taught shall
                 be furnished with a suit of uniform, to be paid for out of the funds of the
      The father brigade; and the father of every youth who shall have been instructed as
      oreve!y    aforesaid, shall be exempted and excused from training in the militia.so
      yout - to long as his son being a minor, shall continue to perform the duties of a
      be exempt. drumnmer, fifer, bugler or trumpeter in any militia or volunteer company.
      Articles or    LV. The following articles, rules and regulations, shall be those by
      regulation. which the militia of this commonwealth shall be governed, including volun-
                  teers.
      Officers       An'r. T. All officers now in commission, or who may be elected or ap-
      may ibe pointed under this act, shall be subject to be tried and punished by a court
      tried by
      courts mar- martial, in the manner herein mentioned; and general courts martial, or
      tin].       courts of inquiry may be composed of officers of either volunteers or mili-
                  tia, at the discretion of the officers ordering the same.
      Punsll.        Amtr. II. If any field, or other comnmissioned, or staft officer, when the
      ment of     regiment, battalion, troop or company to which he may belong, or in which
      ciomemdoff. lie holds a command, shall be paraded, shall misbehiave or demean himself
       ccrs.       fin a manner unbecoming an officer, or shall on any such occasion neglect
                   or refuse to obey the orders of his superior officer; he shall for every such
                   offence be cashiered or punished by fine, at the discretion of a general
                   court martial, as the case may require in any sum not exceeding fifty dol-
      Non.com- lars. And if any non-commissioned officer or private, shall on arty parade
      missioned of tie troop or company to which he belongs, appear with his arms and
      officer or
      private,     accoutrements in an unfit condition, or be intoxicated, or shall disobey or-
                   ders, or shall use any reproachful or abusive language to any of his officers,
                   or shall quarrel, or promote any quarrel among his fellow soldiers, lie shall
                   be disarmed and put under guard by order of the commanding officer pre.
                   sent, until the troop or company is dismissed, and shall be fined at the dis-
                   cretion of a regimental court martial, in any sum not exceeding twenty
                   dollars, nor less than five.
      Punish.          Ant. 111. If any general officer, field officer or brigade inspector, shall
      ment of
       field offi. neglect or refuse to assemble his command when required to do so by time
      cars for no. competent authority, or at any time or times authorized and required by
      glecting to law, or if any such officer shall neglect or refuse to perform nny duty when
       assemble
      their com directed by the proper authority, or which is required by this act, he shall
       mands.      be cashiered and punished by a fine not exceeding one hundred dollars, or
                   either of them, at the discretion of a general court martial. And if any
                   company officer shall neglect or refise to assemble his command when re-
                   quired by law, or the competent authority, or if any such officer, or any
                   staff officer of a general officer, or of any regiment or battalion, shall ne-
                   glect or refuse to perform any duty when directed by the proper authority,
                   or which is required by this act, he shall be cashiered and punished by a
                   fine of thirty dollars, or either of them, at the discretion of tile court mar-
                   tial ; and any such court martial is further authorized to declare any officer
                   cashiered, incapable of holding a commission in the militia or volunteers,
                   for any term not exceeding seven years.
      General
      courts
                       Amr. IV. Every general court martial for the trial of offences against
      martial.     this act, and not assembled to try delinquents, for neglecting to perform
                   tours of duty, shall consist of not less than five nor more than nine mem-
                   bers, and of such rank as the case may require, and shall choose a presi-
                   dent who shall be the senior officer, and not uiider the rank of a field
      Regimental officer. And every regimental court martial shall consist of three members,
      courtsmar. and shall choose a president who shall be the senior officer, and not under
      tia.         the rank of captain ; and every court martial shall appoint a commissioned
                  officer or other fit person to officiate as judge advocate. But no member
       Epe        of said courts shall be entitled to any pay or compensation, but the reason-
                 able expenses incurred ',)y the sitting of the said courts shall be paid by the
       ExpeofeSourt
       martial.   proper brigade inspector.
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        ART. V. In every court martial two-thirds of the members must agree in   1822.
      every sentence, or the person charged be acquitted.                      Two.thirdti
        AnTr. VI. The members of such courts martial shall take an oath or necessary
      affirmation, which the president is required to administer to them, that they to C .
      will decide and give judgment with impartiality ; and one of the members Me"er
      so sworn or affirmed, shall swear or affirm the president in like manner ; and wit.
      and the president of the said court shall require all witnesses to be sworn nesses to
      or affirmed that the evidence they shall give shall be the truth, the whole be oa oatl.
      truth, and nothing but the truth ; to be administered by hini or tie judge
      advocate.
          Airr. VII. Every court martial shall have power and :unt':Ority
                                                                                to issue Courtsmar-
      compulsory process against any persons, who shall uc gict or iefuse to tial to issue
      attend to give evidence in any case therein depending after being duly wry pro.
      summoned ; which precept, as well for summoning as for enforcing Obe- cess.
      dience thereto, shall be signed by the president of the said court, and
      executed by a proper person, to be appointed by him.
          AR'T. VIII. No officer or other person • charged .    •restedany offence, shall Personstoar.
                                                               with                                do
       be suffered to do duty in the brigade, regiment, battalion, troop or company no duty.
       to which lie shall belong, until lie shall have had his trial by a court mar-
       tial: and every person shall be tried as soon as a court martial can be con-
       veniently assembled ; and every officer under atrest shall be furnished by To In111r.
       the adjutant general, brigadc inspector, adjutant or other person, as the nished with
       case may require, with a copy of the charge or charges exhibited against I oel
       him, at least teli days before his trial, that lie may have aii opportunity to charges.
       prepare for his defence.
           Aivr. IX. If any officer, non-commissioned officer or private shall think Redress for
       himself injured by his superior or comninandiig officer, and shall, on due grievances.
       application made to him, be refused redress, lie may complain to the briga-
       dier general, who may, if he thinks it proper, direct the brigade inspector
       to summon a general court martial that justice may be done.
           AnRe. X. No penalty shall be inflicted by a court martial for any offence Punish.
       committed by amnofficer, nion-commissioned officer, or private, whilst acting mnet.
       merely under the jurisdiction of this state, and not for neglect or refusal to
       perform a tour of military duty in actual service, other than cashiering
       rendering incapable of holding a commission, for any term not exceeding
       seven years, an(l fining, or either of them. And all fines imposed by any
       such offences, shall be collected and paid into the hands of the proper
       brigade inspector.
           Ai'r. XI. All persons charged with any offence, who may be tried and Persons to
       acquitted by a court martial, shall be notified thereof and immediately dis- receive        no-
                                                                                          tice ofac.
       charged from arrest.                                                               quittal of.
           ART. XII. General courts martial may be ordered in the following man- Manner of
        ter, to wit For the trial of a major genieral, by the governor of the con- ordering
        monwealth; for the trial of a brigadier • general, by.  the . major general of courtsl.
                                                                                          gnera!
        the division; and for the trial of any colonel, brigade inspector, or other
        commissioned officer of the brigade, by the proper brigadier general.
        But in all cases where charges are preferred against nn ollicer, the officer
        authorized to order a geieral court martial, may, if lie thinks proper, direct
        a court of inquiry to examine and report the facts aid circumstances ; and
        if upon such report, the said officer shall deem a court martial necessary lie
        shall order the same; and every court of inquiry sitill consist of three Courts of'
        members to be selected by the officer ordering the said court, who shall be inquiry.
        sworn or affirmed diligently to inquire into, and truly report the facts and
       circumstances of the case referred to them ; and courts of inquiry may, in
       like matiner, be ordered by the proper officer, upon the request of aiiy com-
       missioned officer, and the junior officer shall act as recorder of every such
       court of inquiry.
          Regimental courts martial may be ordered by the colonel or commanding Orregi-
       officer of any regiment of volunteers or militia, or by the commanding mental
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          1822.       officer of any battalion of volunteers, not part of a regiment; and the
       courts mar- officers authorised to order courts martial, or courts of inquiry, may refuse
       tial.          to order the same if they think the complaint or circumstances of such a
                      nature as not to require it.
       Sentence          The sentence of every court martial must be approved of by the officer
       troed or      ordering the same, before it is carried into effect: and every said officer
        ly the pro. may disapprove of any such sentence, or, if having approved of the same,
        per officer. may remit the whole or any part thereof, and pardon the offender.
       Proceed.          ART. XIII. As soon as the sentence of any court martial shall be ap-
              to benproved by the proper officer, the proceedings of such court, shall be trans.
       ings ortile
       court
       transmitted antted to the proper brigade inspector, who shall thereupon issue a warrant
       to brigade under his hand and seal, for any (line or fines imposed by the said court
       inspector, martial, to be levied and collected in the same manner as is prescribed and
                     directed for fines for non-attendance on days of training. But if the said
                     court martial was for the trial of a brigade inspector, then the brigadier
                     general shall issue his warrant to any person he may appoint fur the
                     amount of the fine imposed, to be levied and collected in manner aforesaid.
       Militia,          AR'. XIV. The militia and volunteers of this state, while in the actual
       when sull- service of the state or of the United States, shall be subject to the same
       jeer to U. rules anti regulations as the army of the United States.
       S.rules.         lVs   Everylotior ther          of hU       Sa       eg         p
       Penalty fior     LVI    Every officer or other person, who shall fail or neglect to perform
       neglect or any duty enjoined and required by this arct, and for which no penalty is
       duty.      fixed, shall forfeit and pay the sum of tiventy dollars, to be recovered by
                  the proper brigade inspector, as directed in other cases.
       Penalty for LVII. It shall be unlawful for any person or persons, within half a mile
       selling i  of the limits, prescribed by any coimanding officer, for the parade of his
              r
        ays o pa. regiment, battalion, or company of volunteers or militia, to set up or have
       rado    ithin anly booth, or stand, to dispose of atny kind of liquor, or to dispose of the
       lieitsid      same by gift, sale, or in any manner whatever, without the consent of such
                       commanding officer, except at stores or licensed inns. And if any person
                       shall so set up or have any booth, or stand ao aforesaid, the commanding
                       officer is hereby authorized to cause the same to be prostrated and re-
                       moved. And every person offending against the provisions of this section,
                       shall further forfeit and pay the sum of twenty dollars, to any person who
                       will sue for the same.
       Command-           LVIII. The commanding officer of any regiment, battalion, or company,
       to fixofficer
       ing             when ]his command is on parade or duty, is hereby authorized to fix certain
              linifte, w
                       limits to his place of parade, not to include any public highway, within
                      which no spectator or by-stander shall enter without permission from the
       Penalty for said commanding officer: and if aty person shall intrude therein,
                                                                                     or if any
       intruding      spectator or by-stander shall abuse, molest, strike, or otherwise ill treat
       within,        any officer, non-counnissioned officer, or private, when on parade, or in
                      the performance of military duty, every person so offcnding, may be put
                      under guard for any time not exceeding six hours, and shall moreover for-
                      feit and pay the sum of ten dollars, to be recovered by any commissioned
                     officer who will sue for the same, as debts of like amount are by law reco-
                     verable.
       Punish-          LIX. If any person or persons shall have knbwingly sold, bought, taken,
       ment for
       concealing exchanged, concealed, or otherwise fraudulently or unlawfully received,
       or fraudis- held, or detained, or shall unlawfully hold, or detain, or shall refuse to de-
       lently with- liver up to the proper brigade inspector, any arms, accoutrements, colours,
       public pro. drums, or other military property of this commonwealth, on ally account
       perty,       or pretence whatsoever; the person so offending shall forfeit and pay for
                     every such offence, treble the value of such property, to be recovered by
                    tIme said brigade inspector in the name of the commonwealth of Penn-
                    sylvania, before any alderman or justice of the peace, of the proper city or
                    county; and the amnount so recovered shall be levied and collected of tile
         (t) For cases under this section. 2 S. & It. 75; 3 id. 169, n., 176, 590; 5 Whart. I; 5 Ain. Law
       Jour. 536; 4 S. & It. 83.
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       offcnder's goods and chattels, by distress arid sale thereof, in the usual             1822.
       manner; but for wvant of sufficient goods and chattels, the offender shall be -
       committed to the jail of the county, there to remain at the expense of tile
       said county, for ally term not exceeding one month, at tire discretion of the
       alderman or justice, unless the amount recovered, with tie costs, shall be
       sooner paid.
          LX. When any doubts shall exist, as to tire true construction of any part 'Theact to
       of this act, on a military subject, it shall be the duty of the adjutant general, be con-
                                                                                         strued by
       to take to his assistance two general officers, and they or a majority of them,Iadjutant
       shall decide thereon ; and which decision shall be conclusive as to tIme coli- geirraI
       struction of tile said act, and shall be recorded by the adjutant general in and 2 go.
       a book to be kept by him for that purpose; and a copy thereof certified cerat             olli.
       by tile  adjutant general, shall always be legal evidence of' the same.
          LXI. As soon as any portion of the militia of this commonwealth shall Proceed.
       be required for the service of this state, or (if the United States, and upon tugs when
                                                                                         . iti i re.
       notice thereof by the adjutant general to any brigade inspector, tile        said luired ter
       brigade inspector shall immediately order the major and captains, or com-service or
       mauding officers of companies, of every battalion of militia, to assemble tile U. S.
       at a time and place to be fixed on by him, within the bounds of every such
       battalion, for the purpose of having the enrolled militia il,    the said compa-
       nies, justly and fairly classed ; and shall further order the said captains, or
       commanding officers of companies to produce full and complete rolls of all lois to le
       the persons subject to militia duty, in their said companies, to be sworn or made out.
       affirmed to by them respectively: And tie colonel of the regiment shall
       attend the meeting aforesaid for tile first battalion ; and the lieutenant colo-
       nel tie meeting aforesaid, for the second battalion ; and the said officers
       being so assembled, with tire rolls aforesaid, the men composing said corn-
       panies, shall be divided into ten parts, and the name of each and every Companies
       person enrolled ill  said companies, shall be written on it small slip of paper, to h divi-
       anrd carefully rolled up ; and then shall be deposited by companies, begill- ded into 10
       ning with tile first company, in a box to be procured for that purpose, andrts.
       the senior officer then present, shall draw from the said box, tile        names Formation
       therein contained ; and a person to le appointed by the senior officers pre- ofclatss.
       sent shall take down tire nanies as drawn out ; and the persons first drawn,
       making one tenth of the said company, shall form the first class. And the
       persons next drawn, making one tenth of said company, shall erpose
       the second class; and so on ill    the same manner, until all the names in tile
       said box shall be drawn and classed. Arid as soon as the said drawing for
       all tire companies, in manner aforesaid, shall be completed, (wo lists of the Two lists
       said comnpanies, thus classed, shall he made out to be sigiued by the proper              • .laSse
       commanding officer of the company and countersigned by the senior officer to       out,be&c.
                                                                                                 made
       of the regiment present ; one of which lists of each company, shall be de-
       livered to tire proper brigade inspector, by the said senior officer, as soon
       after as possible: and tile  other list shall be kept by tIre commanding officer Officers
       of the company. Arid the officers engaged in drawing aird taking down tire classing to
       names as aforesaid shall be first severally sworn or affirned to perform the be on oath.
       duty required of thenm, wilh fairness, impartiality, and fidelity. And tile
       men of tire several companies shall be liable to perform tours of duty intIre How men
       order in which they are classed, beginning with tire first class, and proceed-    liable to
                                                                                    S .perlorm
       ing in numerical order; but no class shall be called on to perform any second tours of
       tour of duty, until every other class in the company shall have first lper- duty.
       firmed a tour of duty ; nor shall airy militia-man or volunteer, who per.
       formed a tour of duty by himself or substitute, or paid air equivalent tlerefor,
       during the late wvar, be compelled to perform any tour of duty, until all who
       have not served initIre late var, shall have performed a tour of duty, or
       paid air equivalent therefor. Arid if any officer shall fail promptly to obey Penalty for
       the order of the brigade inspector, requiring his attendance, or in producing disobedi-
       the rolls of his company, as aforesaid, he shall forfeit and pay tile     sum ofeince or
       three hundred dollars. And if airy officer shall have acted unfairly, and frduret
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         1822.     fraudulently in clabsing the miliia as af.resaid, he shall forfeit and pay
       conduct in the sum of one hundred dollars, to be recovered by the party aggrieved         as
       classing, debts of equal amount are or shall be by law recoverable: and his commis-
       Duty of nd. sion shall be vacated. And it shall be the duty of the adjutant general,
       jutant go- under the direction of the governor, to prescribe the manner in which
       ncril, bri. commissioned officers shall be selected and assigned to any portion of the
       gade in.       ...
       spector and mIlitla, to be called into service, to be announced in general orders, paying
       other       due regard to the rank of such officers, and which the several brigade l-
       olficers.   spectors, and all other officers shall execute, observe and be governed by,
                   under the penalties before mentioned. And each of the said officers shall
                   be entitled to one dollar per (lay, for his services in classing the militia as
                   aforesaid.
       When the        LXII. The militia of this commonwealth may be called into actual ser-
       governor           ythgo
       may call vice by the governor thereof, in case of a rebellion, or of an actual or threat-
       the militia ened invasion of this or any neighbouring state; but no part thereof shall
       into ser- be detained in service, at any one time, longer than three months, under
       vice.       the mere requisitions of the governor, without the direction or assent of the
                   president of the United States.
       Detach.
       Ineets for
                       Whenever any part of the militia of this commonwealth shall be required
       the service for public service, by the president of the United States, if no particular
       ortbe U.S.description of troops shall have been required, the governor shall detach the
                   number of men demanded in such proportions of the several description of
                   troops, as he may think proper.
                       The commanding officer of any detachment, when called into actual ser-
       Orvacan- vice, shall have the power of supplying all vacancies which may occur in
       eies.       his detachment, and the persons nominated by him shall be commissioned
       Ordetach. by the governor. Troops of cavalry and companies of artillery, infantry
       ing of o. and riflemen, shall be detached at the discretion of the commander-in-chief.
       lunteers. If either or any of them shall be necessary as a part of the force required
                   for public service, those companies nearest the rendezvous, that may be
                   specified, shall in each iinstance, be the first detached; but no company
                   shall be called to perform a second tour, until every other company, in its
                   proper brigade, shall have performed its tour of service, unless in the opi-
                   nion of the commander-in-chief, the urgency of any particular case may
       Time,       require it.
       manner,         'lhe time, manner, anl regulations necessary for marching militia called
       etc. of     into actual service, to the place of general rendezvous, unless defined in
       marching this act, shall be prescribcd and puhlished in general orders, by the corn-
       militia.    mander-in-chief of the militia of this state.
       Duty ortho      When the president of the United States shall have made a requisition
       adtjutant
       general on
                   of a part of the militia or this state, for public service, the adjutant general
       a call by shall take the most prompt and efficacious measure, for detaching and sup-
       the U. . plying with all necessary arms, equipments, ammunition and provisionis,
                   the number of men required, and for having them marched to the place or
       Of major places of rendezvous. The general of division, or of brigade, to whom
       and briga. orders may be issued, shall take immediate measures, for having the num-
       dier gene. ber of militia required, called out and inspected by the proper brigade
                    inspector: Provided, That volunteer troops and companies, shall be the
                    first detached, and may be kept in service any time not exceeding six
                    months.
       Of brigade       Whenever any portion of the militia of this state, shall have been ordered
       inspector in
       similar      into actual service, under a requisition from the president of the United
       calls.       States, or otherwise, the proper brigade inspector shall notify the commis-
                    sioned officers, whose tour of duty it may be to serve in the detachment
       Ofeaptain required, and all captains, or commanding officers of companies of the
       or cornm
       mending      militia, within the bounds of such draft, whether required to serve in the
       officers,    detachment or otherwise, shall furnish to the proper brigade inspector, on
                    or before the day appointed for inspection, an authenticated roll of the
                    non-commissioned officers, musicians and privates, selected or drafted out
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                                                                                               :3-15
        of his company, and it shall be the duty of the said captains, or command-        1822.
        ing oficcrs of companies to cause a written or printed notice to be served          -
        upon or left at the usual place of residence of each and every officer, non-
        conmissioned officer, musician, and private, liable to serve, requiring every
        such person to attend at a time and place, to be in the said notice specified,
        and every such notice shall be served at least three days prior to tile     day
        fixed for in'rchiugr to the place of rendezvous, unless upon any suddeu
        emergency, when the said notice shall require immediate attendance for
        service. The form of the notice for non-commissioned officers and pri-
        vates, shall be as follows:
            "'VTake notice that you are hereby required personally, or by a sufficient F'orm of
        substitute, to appear properly armed and equipped for service, at            on n1otiec.
        the              day of'           to march when required. Given under my
         )and, &c.
                                              A. B. captain or commanding officer."
            Tile governor shall select such general ollicer or oflicers as tilenature ofatmeral ot'
         each case shall require, to proceed to the place of rendezvous, and take the ictr o tie
         command of the troops called into actual service. The ollicer who shall ,vthe
         be selected foithe chief command, shall immediately proceed to organize governor.
         the detachment ; wheniever any detachment of' the militia shall have been riga de in,-
                                                    duty of the proper brigade ilslpec. ktpector to
         called into actual service, it shall be tile
         lors, to organize within their respective brigades, the militia detached there-orgaic.
         from, in such a manner as that tile     requisite number of' company officers
         for the militia detached, shall march therevith to the place of general
         rerdezvous.
            The pay, rations and forage of the oflicers, non-commissioled officers Iay and
         and privates of the volunteers and militia called into tile service of the rations.
         United States or of this state, shall commence two days prior to their
         marching to the place or places of rendezvous, and each of the said olicers,
         non-cominissioned officers and privates, shall receive pay, ratious and forage
         tit the rate of sixteen miles per day, on their return home. For the service
         of the horse of' each ollieer and member of a trool) of cavalry, there shall
         be paid to the owner thereof, twenty-five cents per day ; and for the service
         of each horse used by a company of artillery, there shall be paid twenty-live
         cents per day.
             The governor of this commonwealth may, if he shall think proper, direct \'olutcers
          the cavalry, artillery, infantry or riflemen who mnay be called into atual may te
                                                                                          fornied hiro
          service, to be formed into hattalions or regiments.                             battalions
             Whenever ammy portion of the militia shall be ordered into actual service, and regi.
          itshall be tie duty of the governor, through the adjutant general, to notify icats.
          the brigade inspector, from whose brigade any such detachment may       .; ,
                                                                                       be When call,
                                                                                          arc inad
          required, whether tie call of' militia so made, is by order or requisition .,, j-
          from tile  general government, or by the authority of the governor of this taut gone-
          state, and also the time of service for which the said detachment may be ralto give
                                                                                          lotice tp
         required.                                                                       brigade
            When any part of the militia shall have been called into actual service, inspector.
         the officer who may have the command of tIhe detachment, about to march Ilaymanter
         to the place of rendezvous, shall nominate to the proper brigade inspector, arid quarter
         one of his staff" or subaltern officers to act as paymaster, amld also a stibal- master.
         tern to act as quarter master for the detachment, until it shall have arrived
         at the place of rendezvous, (if the detachment consist of but one company,
         a sergeant thereof shall act as quarter master) to whom, if lie shall approve
         the choice, the brigade inspector shall advance such sum or sums as may
          be necessary for the pay and subsistence of the troops upon their march,
          taking duplicate receipts therefor from the pay master or quarter master,
          which shall also be endorsed by the commanding officer of tile detachment.
          ''he officer so appointed pay master, or quarter master, shall keep exact To keet,
          accounts of the mode of expenditure, and when lie shall have arrived at the accounts.
          place of rendezvous, shall transmit a statement thereof to the proper brigade
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          .82-.      inspector, charging two and one half per centum for the services thus ren-
                     dered; and if any balance shall remain in his hands, he shall pay it over to
                      such person, or in such manner as the proper brigade inspector shall have
                      instructed him.
         How and         The brigade inspector, and two rbputable and disinterested citizens to
         by whom be nominated by him, shall appraise the horse of each officer, who is enti-
         Iterse    . tied by the rules of war to keep a horse: and the horse nf each member of
         be npprais.
         ed.          a troop of cavalry, and each horse belonging to tht artillery, immediately
                      before every time of going into actual service, and enter such appraise-
         Ifkilled, ment in a book; and in case such horse shall be killed or die in actual
         &c. in ser. service, or be taken by the enemy, otherwise than by neglect of the owner;
         vice tihe
        owner shall on his producing to the officers of the department of accounts, a certificate
         be paid. of the loss of said horse, signed by the commanding officer of the detach-
                      ment to which he belonged whilst in actual service, together with a
                     certificate of tbe valuation so as aforesaid directed to be made; he s! all
                     theneupon be paid the full amount of such appraisement, by an order to be
                      drawn in the usual manner on the state treasurer, out of any money not
                      otherwise appropriated.
         Pay and         LXIII. The officers, non-commissioned officers and privates, when called
         rations,     into actual service, either on a requisition from the president of the United
                      States, or under the orders of the governor of this state, shall receive the
                      like pay and rations, and other emoluments as are or shall be allowed and
                     granted by the said United States, to the officers, non-commisioned officers
                      and privates of the regular army at the time they shall be in service, and
                     the non-commissioned officers and privates shall be armed and equipped at
                     the expense of the state, during said servie.
        Period of        Whenever the militia of this state shall be called into actual service for
        service fbr the term of three months or more, they shall severally receive one uniform
        which to
        receive      coat, one pair of overalls, and one pair of shoes. Vhen called for tie
        clothing, term of one year, they shall severally receive a full suit of uniform, con-
                     sisting of one cap or hat, one stock and clasp, one vest, one uniform coat,
                     two shirts, one pair of woolen overalls, one pair of linen overalls, one pair
                     of stockings, one pair of socks, one frock, and one pair of shoes; which
                      articles of clothing shall be distributed by orders of the adjutant general
                     when the several corps shall have arrived at their respective places of ren-
                     dezvous.
        The gover. That in all cases of emergency where money may be wanted to organize,
        nor to draw furnish or supply the militia of this commonwealth, who may be called into
        for money,
        &C.          actual service, the governor is hereby authorized to draw his warrant on
                     tile state treasurer for the sum or sums of money, and to dispose of it in
                     such manner as the exigency of the case may require.
                         LXIV. It shall and may be lawful for any person called to perform a
                     tour of duty to find a sufficient substitute, such substitute being approved
                     of by the captain or commanding officer of the company in which lie shall
        Ofsubsti. have offered to serve: Prroidcdalways, That if any substitute shall be
        tutes.        called in his own turn, into actual service before the term expires, which
                      he was to serve for his employer, then the person procuring such substitute
                      shall march, or find a sufficient person to march in his said substitute's
                     turn, or be liable to pay his fine for neglect; which fine is to be recovered
                      as other fines for neglect of serving are by this act recoverable; and sons
                     who are not subject to the militia law, may be admitted as substitutes for
                     their fathers if approved of by the commanding officer of the company in
                     which they shall be offered to serve.
        Penalties        LXV. If any commissioned officer of the militia, shall have neglected
        for officeri or refused to serve when called into actual service, in pursuance of any
        neglecting,
        ne t norder or requisition of the president of the United States, he shall be liable
                     to the penalties defined in the act of congress of the United
                                                                                      States, passed
                     on the twenty-eighth day of February, one thousand seven hundred and
                     ninety-five, that is to say, each and every officer having so offended, shall
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        forfeit a sum not exceeding one year's pay nor less than one month's pay, 1-2.
        to be determined and adjudged by a court martial, and shall moreover be
        liable to be cashiered by sentence of a court martial, and to be incapaci-
        tated from holding a commission in the militia for a term not exceeding
        twelve months, at the discretion of the said court, or shall be liable to any
        penalty prescribed by the acts of the congress of the Urrited States now in
        force, or that hereafter may be passed for the government of the militia
        thereof.
           Each and every non-commissioned officer, musician and private of the Nou-con.
        militia, who shall have neglected or refused to serve,• ,, when
                                                                    •,  called
                                                                            .,  into ac-      issiolled
                                                                                       . ollieers     and
        tual service in pursuance of an order or requisition of the president of the orrivtrtei
        United States, shall be liable to the penalties defined in said acts of con-
        gress, or any acts that may be hereafter Iassed.
            Within one month after the expiration of the time for which any de- When nud
        tacliment of the militia shall have been called into the service of the Un ited rcuby whoiri
                                                                                  poJp     general
        States, or aftcr such retachment shall have been ischaged hi, the
        authority, the proper brigade inspector shall sumnol a general court Roar- tial to ie
        tial for tihe trial of such person or persons belonging to tile detaChnient suir.....          el.
        called out, who shall have refused or neglected to march therewith, or to
        furnish a sufficient substitute, of which delinquents, the proper brigade in-
        spector shall furnish to the said court martial nn accurate list. And as 'rf ,horn
        soon as the said court martial shall have decided iii each of the cases which lists ofile.
        shall have been submitted to their consideration, the president thereof shall      "inPlents
                                                                                        ' flledt to lie5
        furnish to the propir brigade insjnrtor, and also to the acountailt dtl't, Ihrnishcd.
        ment, a list of the delinquents fined, in order that the further proceedings
        directed to be had thereon, by the laws of this state or of the United
        States, may be completed.
            LXVI. Each and every commissioned officer, who slhall have neglected Penalty to.
        to perform his tour of duty, when called iito the service of this state, by tuingi, to
                                                                                           IeriWHrin
        the governor thereof, shall pay a fine of thirty dolltrs for each and every military
        month whichi he was called oRn to serve, anid every private and non-com- dty on
        missioned officer who shall so neglect, shall pay the sum of sixteen dollars, call ofitlh
        for every month which lie shall have been called on to serve : and it shall governor.
        be the duty of the proper brigade inspector, immediately after the march-
        ing of any detachment, in the service of tile state, to order a court martial, Courts
        to consist of not le+s than five comimissioned officers of tile brigade, one o f """"
        whom shall be a field officer, to meet at a time and place to be fixed on by ordered.
        the said brigade inspector; and of which public notice shall be given.
        And tine court martial being assembled, shall be sworn or affirmed, to hear Members
         and determine all cases that may be submitted to thern with justice and to Ibeon
         impartiality and according to law: And the said court shall be organized                 •iti
         as courts martial in the United States' service. And the said brigade    d In-  I- o or.
                                                                                         •gallized.
        spector shall furnish to the said court a list of all persons who neglected 1o Duty ofbri.
        perform their tour of duty in the state service, according to law. And the gad, in.
         said court martial shall decide upon all cases brought before it, and raving sectr.
         so decided the said court shall make out two lists of all such delinquents
         whose fines were not remitted, to be signed by the president of the said
         court, with a certificate, that the members of tie said court were sworn
         and affirmed according to law : One of which lists shall be transmitted to List olde.
         the auditor-general, and the other delivered to the said brigade inspector: linquelits
                                                                                            to tin made
         and tire said brigade inspector shall, thereupon, issue one or more War- out, &C.
        rants, under his hand and seal for the collection of the said fines, to a lroceed-
         constable or other fit person, wlich fines shall be collected and recovered, ingi for
         and all proceedings had on the said warrant or warrants in the samie mil.- . cl
         ner in all respects as is prescribed and directed in the case of fines for non-
         attendance on days of training. But if any person or persons against
         whom any such warrant shall issue as aforesaid, shrall not have sufficient
         goods and chattels to pay and satisfy the amount of the fine incurred;
         every such person for want of the same, shall be committed to tle jail of
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        1S2.        tile proper county, for tile  term of twenty days for every month he was
       '-           called oilto serve ill the militia, i,
                                                         iless tie said fines and costs are sooner
         Additional    paid, there to be supported by tile said county. And every commissioned
         Ipi sih -     officer, who shall neglect or refuse to perform his tour of duty, when called
         Oiet
         olticers  re-shlt the service of this slate, shall, in addition to the fine prescribed by
                 whcreijito
          'ouseto per. this section, be cashiered and rendered incapable of hiolding a.commission
         Conn, &c. tir an erln iot exceeding seven years, at the discretion of the court mar-
         Pav of.       tial.And each member of tile       court martial, and the judge advocate, shall
                       be entitled to one dollar per day, for every day necessarily employed on
                       said court.
         t~ai.iis-        IXVII. Whenever tile      militia of tbis ouinmonwoalth shall be ordered
        ter's  to Ie iito the service of the state, it shall be die duty ofithe governor to appoint
        i1°i thented oi or iure pay inasters, whoe shtall, before lie enters upon the duties of his
        b~y
        gver or. appointment, give bonds to the governor vith sufficient sureties ii such
                       amount as the governor shall think proper and necessary, conditioned for
                       the faithfilI disposition of till muoney placed in his Ii'm ds, inid for the true
                       per formalce of his duty. Anid every said paymaster shall ieceive from the
                       state treasury, upon warrants to be drawn by tle governor, such suns as
                       will he necessary to pay the militia in the service of tile state ; aid lie shall
        Do ic.         attend at tile camp of the said militia, before they are discharged, if prae-
       ''o e'ir. ticable to pay them.          And it shall be the duty of tile  several comnanding
         ,ished with olicers of regiments, battalions, detachments, or compaties it service, to
       colopleto
        rol% &c* furnish the pay-master with complete rolls, duty certilied, of till             offieers,
                      n oi-comilissioued officers, musicians, and privates, statilt thie      ti me they
                      have respectively served, and for which they are entitled to pay, in order to
                      make payment to them ; and the said rolls shall be cou11tersigled by the
                    comnmaditilg officer.
       Penalty ot     I XVIII. If any male persoi shall attempt to persuade any non-coi-
       perrolls    issiotel
       who Orh'Ill lsqo      officer or private, whei called itto actual service, to deset, or
       persade to shall attempt in any manier whatever, to dissuade or hinder any officer,
       desertion, noi-coinmissioned officer or private, from marching with his proper de-
        .c.
       &'         tachmenlt, when called into actual service; every personi so offending, shall
                   forfeit and pay the sutn of one hundred dollars, to be stied for in the name
       I iow re.   of the commonwealth of Pennsylvania ; to be recovered as debts of equal
       cotveed.    amount are by law recoverable by tie proper brigade inspector, to be ac-
                   counted for by him, in the settlement of his accounts. But for want of
                   sullicient property to pay the same, such ofeider shall be committed to tile
                   jail of the proper county, there to remain for tile term of thirty days, unless
                   the said sum, with costs, shall be sooner paid.
       No.judge,      LXIX. No crtiorari or other writ, shall in aty case issue from any
       &c.to iii- court of law inthis commonwealth, to remove any proceedings that shall
       tcrfre with be had it any court of appeal, or court martial, held under, and by virtue
       decisiotis. of tite laws of this commonwealth, or under and by virtue of any law of
                    the United States ; and no court of lawv of this commonwealth or alderman
                    or justice of the peace within the same, shall ini any case hear or deter.
                     mine, or in aiy matter, take cognizance of appeals that may be offered or
                     attempted from any senteice or decree, passed or made by any such court
                    of appeal, or court martial ; aiy law, usage or practice, or any construction
                    of any clause of this act to the contrary in any wise notwithstanding. And
       Pellty.      if ally justice of the peace, alderman, or judge of aiy of the courts of ttis
                    comnonwealth, shall issue, or cause to be issued, any writ or process, with
                    a view to, or shall re-helar, examine, or obstruct the decision of any court
                    of appeal, or court martial; any and every such justice of tile  peace, alder-
                    mlan, or judge, so having ohlemtded, shall be deeited, and hield to be guilty
                    of a misdemeanor ii office ; Providcd, That nothing herein contained
                    shall impair or affect the provisions of an act for the better securing per-
                    sonal liberty and preventing wrongful imprisonments, passed tile eighteenth
                    of Icbruary, one thousand seven hundred and eighty-five.
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           All suits tlat may be brought against any person or persons, for any 1822.
       thing done in pursuance of this act, shall be commenced and tried in the n,, ae.
       county where the cause of action shall have arisen, and not elsewhere ;and soitsto be
       the defendant or defelaits, may plead the general issue, and give this act, tried.
       and tie special matter in evidence ; and if the jury shall fiid for the de-
       fendant or defendants, or if tile    plaintiff or plaititills shall be non-suited, or
       shall discontinue Iis or their action or actions, after thie defteidantt or de-
       fendant s shall Ihave appeared, or if upon demurrer, judgment shall be givet
       against the plaintiff or plaintifls, the defendant or defendants, shall have
       treble costs,, and shall have the like remedy for the same, as any defeilaut
       or defendants hath or have in other cases, to recover costs by law, attil the
       proceedings of courts of appeal and courts martial, shall, in no case What- ProceI.
       ever, be set aside or declared void by arty judge or court of law, on the ings not to
       grounrd of infoirmality, iitsuch proceedings ; and every judge               ivlio shall 1!0net nwid,
                                                                              1                 tbr telir-
       declare any such proceedings void, oti the grounls before mertioned, shill ..             eality.
        be deemed guilty of a misdemeanor in otlce: J'rovidd,Such courts of
       appeal, or courts martial, shall be constituted nuder the authority of the
       United States, or ofthis state. A ml it shall be the duty of the prosecutinrg
       attorney of the coimnoiwealth, ill the county in which arty suit may be
        brought against an officer, for ally thing doi e ill pursuaince of this act, to
       appear to, and dfetd the said suit on beltalf of tile cii                Ittweall.
           LXX. No civil process shall be served upot atty offieer, IO ri-coin inis- c)dice rq,
       sioed officer or private, when going to, whilst attending at, or viheir rc-S&c. hle
       tur'ning from any parade, for disciplini ig at             art of the volutteers or e, iro[
       militia.                                                                                 cei;s ando
           No execution or other process shall issue arrgainst aiy officer, tnot-corn- execution.
       missioned officer, or private of the militia, when called into actual service,
       trutder a requisition frot the president of tile United States, or ill pursuance
       of tie orders of the governor of this commouwealtl : nor shall any sucl
       process issue against him, until thirty days after lie shall have returned
        from duty, to Iris usual place of residence, or urtil forty days after lie shall
       have been disclarged ; and the court, alderman, or- justice of the peace,
       frotm which or front whom aty such process shall have issued, shall quash
       the same, as soon as the flct of atty such person being ordered ott public
       duty, shall have been proven, aIld all the costs which shall have accrued
       in cotnnencing or conducting arty such process, shall be paid by the per-
       son or persons, who shall have alpplied flir the said execution or other pro-
       cess.
           The tiniform, arms, attn accoutrements of every volunteer or aiy person
       enrolled ilt tire militia of this commonwealth, arid tire hiuirse fiiiture of
       every person entitled to use a horse in the militia ot' voltteers of this state,
       shall be exetpt from all suits, distress, executions, or sales for debt, or ibr
       tlre paymentt of taxes.
           LXXI. If any person subject to be enrolled as is provide(] for in the o .
       ninth section of this act, shall, on or before tlre first day of A pril, ill arty
       yeatr, pay to the county treasurer for the use of the coimulli ealtl, tire sut
       of two dollars, and produce a receipt therefor, to the captain or comantid-
       tig officer of the company to which lie belongs, ott or before the clay of
       conpaiy training, but not otlierwise, sich captain or commandintg officer,
       shall set down it his roll, stch ipersot as exempt frot military duly for
       one year, from said first day of April, and shall iii his return to the l'oper
       court of appe:l, dlesignate such persotn as exempt fri'omi dity, and said
       court of appeal shall return each exempt as stich to tihe brigade inspector;
       wvho shall transitrit tire same to tie auditor general :1I'orIc(d, That ti(itlirrg
       ill this act cotaiied, sh:ll exempt such person fiour being enrolled as a
       militia man, or from beinig called into actual service itt time of war, as
       others who are not exempted as hercin provided : Jrovided also, That the

          (1)The costs are to be trebled, and not culinted accordinlg to thc English rule.   2 Rawlc, 201.
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           1SM22. person so exempled shall not be entitled to vote at any clection for military
          ,,, Tf officers during the time he shall be so exempted. And said receipt shall
        receipt.    be in the followiing form, to wit: 1                                  has paid
                    me two dollars for tile   use of the commonwealth, and is exempt from
                    military duty for one year,                                         Treasurer
        Treasurer of                   county." And the treasurer of tile   county, shall account
        to accomet. for the momies received iii pursuance of this section, at the same time,
                    in the same manner, and under the same penalty as he shall account for
                    monies received from tavern licenses, and shall be entitled to the same com-
                    mission.
        Brigade in. LXXII. It shall be the duty of the brigade inspectors to take charge of
        spector to the state arsenals or depot of arms and military stores, the property of this
        charge of commonwealth, established within their respective brigades ; and the bri-
        the state gade inspectors who shall have charge of the arsenals at Philadelphia,
        arseints. flarrisburg, and Meadville, shall each receive the sum of one hundred dol-
        Additional lars, in addition to their other compensation allowed by this act, and their
        eolllensa.      I

         tioe.     duties shall be tile same as that directed to be performed by the fourth see-
                   tion of the act, entitled " An act to provide for the erection of two aroe-
        ilepeal.   ials," so much of the said act as provides for the appointment and
                   compensation of state armourers, being repealed.
        Duty of the LXXIII. It shall be the duty of the adjutant general, as soon after the
                   passage of this act, as conveniently may be, and as much oftener as he may
          'raadjutant
        visitthe deem it advisable, to visit the arsenals' of this commonvealth, and examine
        arsenals. and inspect the arms and public property therein deposited ; and he shall
                  establish such regulations for the preservation and safe keeping of the same,
        To maho as he may find necessary and proper; and which tie brigade inspectors
        report to having the same in charge, are hereby required to strictly observe and attend
                  to, under the same penalty as in other cases for neglect of duty; and the
        the legisla-
        lure.
         Compensa. said adjutant general in his annual report to the legislaturc shall return the
         tion.         state and condition of tie said arms and public property, and shall make
                       such other representations as lie may deem necessary for the information
                       of the legislature. And the said adjutant general shall receive as a com-
                        pensation, in addition to his annual salary tr his services and expenlses in
                       performing tile    duty herein required for the ensuing year, two hundred and
                       fifty dollars, to be paid out of the state treasury.
                           LXXIV., LXXV., LXXVI., LXXVII., LXXVIII. [Are temporary, ex-
                       cept the part of the 75th section which is retained.]
        Adjitant           LXXV. And it shall be the duty of the adjutant general, under the direc-
        geieral to tion of the go'ern to to designate and receive such kind of arms from the
        designate
        the kio~d  rlr United States, as shall be deemed necessary and proper for the military ser-
        arms  toteivice of the cominuwealth, and cause the same to be deposited in the
        received
        from the U.most convenient arseials, to be disposed of agreeably to the provisions of
        States.        this act.
        Officers to        LXXIX. All officers of the votlunteers or militia elected or appointed
         deliver to under any former law, or who may hereafter be elected or appointed, or in
        their sic.
        cessors,        case of their death, their executors anid administrators are hereby required
        records, under the penalty of one hundred dollars, to deliver over to the successors
        &c.            of such oflicers, all books, records, documents aud papers in antywise all-
                       pertaining to their said offices; which penalty shall be recovered for the
                       use and ill  tile name of the commonwealth of Pennsylvania, by any) person
                       who may sue for the same : Provi&Wd, howc vir, That the provisions and
                       penalties contained in the twelfth and fiftieth sections of this act, relative
                       to adjutant genieral and brigade inspectors, shall not be altered, affected or
                       impaired hereby.
                          LXXX. [Obsolete.]
                           LXXXI. and LXXXII. [Repeal former laws.]
                          Passed 2d April, 1S22.-7 Sin. L. p.607.

                    (1) The Meadville arsenal once in three years. 14 April 18-27) ,6; 9 Si. :398.
